Case 22-11068-JTD   Doc 2725-1   Filed 09/27/23   Page 1 of 73




                EXHIBIT 1
                Case
                 Case22-11068-JTD
                      22-11068-JTD Doc
                                    Doc2725-1
                                        1467 Filed
                                              Filed05/09/23
                                                    09/27/23 Page
                                                              Page12ofof11
                                                                         73




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                        :
                                                        :   Chapter 11
    In re                                               :
                                                        :   Case No. 22-11068 (JTD)
    FTX TRADING LTD., et al., 1                         :   (Jointly Administered)
                                                        :
                                   Debtors.             :   Hearing Date: May 17, 2023, at 9:00 a.m.
                                                        :
                                                            Objection Deadline for the U.S. Trustee: May 9,
                                                        :   2023

                                                            Re: D.I. 1324, 1137


    UNITED STATES TRUSTEE’S OMNIBUS OBJECTION TO (A) JOINT MOTION OF
    THE DEBTORS AND THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
     FOR AN ORDER AUTHORIZING THE MOVANTS TO REDACT OR WITHHOLD
     CERTAIN CONFIDENTIAL INFORMATION OF CUSTOMERS AND PERSONAL
    INFORMATION OF INDIVIDUALS, AND (B) THE AD HOC COMMITTEE OF NON-
       US CUSTOMERS OF FTX.COM’S MOTION TO FILE UNDER SEAL (I) THE
        VERIFIED STATEMENT OF EVERSHEDS SUTHERLAND (US) LLP AND
            MORRIS NICHOLS, ARSHT & TUNNELL LLP PURSUANT TO
        BANKRUPTCY RULE 2019 AND (II) THE SUPPORTING DECLARATION


            Andrew R. Vara, the United States Trustee for Regions Three and Nine (the “U.S.

Trustee”), through his undersigned counsel, files this omnibus objection (the “Objection”) to the

(A) Joint Motion of the Debtors and the Official Committee of Unsecured Creditors for an Order

Authorizing the Movants to Redact or Withhold Certain Confidential Information of Customers

and Personal Information of Individuals [D.I. 1324] (the “Joint Motion”), and (B) the Ad Hoc

Committee of Non-US Customers of FTX.Com’s Motion to File Under Seal (I) the Verified



1
      The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers
      are 3288 and 4063, respectively. Due to the large number of debtor entities in these chapter 11 cases,
      a complete list of the Debtors and the last four digits of their federal tax identification numbers is not
      provided herein. A complete list of such information may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.ra.kroll.com/FTX.
               Case
                Case22-11068-JTD
                     22-11068-JTD Doc
                                   Doc2725-1
                                       1467 Filed
                                             Filed05/09/23
                                                   09/27/23 Page
                                                             Page23ofof11
                                                                        73




Statement of Eversheds Sutherland (US) LLP and Morris Nichols, Arsht & Tunnell LLP

Pursuant to Bankruptcy Rule 2019 and (II) the Supporting Declaration [D.I. 1137] (the “Ad Hoc

Committee’s Motion,” and, collectively with the Joint Motion, the “Motions”) and respectfully

states:

                             I.      PRELIMINARY STATEMENT

          1.     On January 20, 2023, this Court entered the Final Order (I) Authorizing the

Debtors to Maintain a Consolidated List of Creditors in Lieu of Submitting a Separate Matrix for

Each Debtor, (II) Authorizing the Debtors to Redact or Withhold Certain Confidential

Information of Customers and Personal Information of Individuals on a Final Basis and (III)

Granting Certain Related Relief [D.I. 545] (the “January 20 Redaction Order”), which allowed

the Debtors to redact from all Court filings the names, addresses and email addresses of their

customers, whether natural persons or entities, and also to redact the names, addresses and email

addresses of certain other creditors who are natural persons. Certain of the provisions of that

order were limited to a 90 day period. By the Joint Motion, the Debtors and the Committee seek

to extend that period for another 90 days for certain information, and permanently for other

information. The Ad Hoc Committee, by their motion, seeks authority to redact the names,

addresses and email addresses of the members of the Ad Hoc Committee, who are customers of

FTX.com.

          2.     The U.S. Trustee opposes the Motions for the reasons set forth in the U.S.

Trustee’s Objection to the Motion of the Debtors for Entry of Interim and Final Orders (I)

Authorizing the Debtors to Maintain a Consolidated List of Creditors in Lieu of Submitting a

Separate Matrix for Each Debtor, (II) Authorizing the Debtors to Redact or Withhold Certain

Confidential Information of Customers and Personal Information of Individuals and (III)



                                                  2
             Case
              Case22-11068-JTD
                   22-11068-JTD Doc
                                 Doc2725-1
                                     1467 Filed
                                           Filed05/09/23
                                                 09/27/23 Page
                                                           Page34ofof11
                                                                      73




Granting Certain Related Relief [D.I. 200] and the Supplement to the United States Trustee’s

Objection to the Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the

Debtors to Maintain a Consolidated List of Creditors in Lieu of Submitting a Separate Matrix for

Each Debtor, (II) Authorizing the Debtors to Redact or Withhold Certain Confidential

Information of Customers and Personal Information of Individuals and (III) Granting Certain

Related Relief [D.I. 362] (collectively, the “Prior Objections”), which are attached hereto as

Exhibits A and B, respectively, and incorporated herein in full.

        3.        By this Objection, the U.S. Trustee also sets forth certain additional arguments

detailed below.

        4.     For the reasons set forth in the U.S. Trustee’s Prior Objections, and those set forth

below, the Motions should be denied, except as to allow the redaction from public filings of the

addresses and e-mail addresses – but not names – of individuals who are customers or other

creditors of the Debtors, with unredacted versions of such documents directed to be filed under

seal with the Court.

                       II.     JURISDICTION, VENUE AND STANDING

       4.      Pursuant to (i) 28 U.S.C. § 1334, (ii) applicable order(s) of the United States

District Court for the District of Delaware issued pursuant to 28 U.S.C. § 157(a), and (iii) 28

U.S.C. § 157(b)(2)(A), this Court has jurisdiction to hear and determine this Objection.

       5.      Under 28 U.S.C. § 586, the U.S. Trustee is charged with overseeing the

administration of Chapter 11 cases filed in this judicial district. This duty is part of the U.S.

Trustee’s overarching responsibility to enforce the bankruptcy laws as written by Congress and

interpreted by the courts. See Morgenstern v. Revco D.S., Inc. (In re Revco D.S., Inc.), 898 F.2d

498, 500 (6th Cir. 1990) (describing the U.S. Trustee as a “watchdog”).



                                                   3
               Case
                Case22-11068-JTD
                     22-11068-JTD Doc
                                   Doc2725-1
                                       1467 Filed
                                             Filed05/09/23
                                                   09/27/23 Page
                                                             Page45ofof11
                                                                        73




         6.      Under 11 U.S.C. § 307, the U.S. Trustee has standing to be heard on this

Objection. See United States Trustee v. Columbia Gas Sys., Inc. (In re Columbia Gas Sys., Inc.),

33 F.3d 294, 295-96 (3d Cir. 1994) (noting that U.S. Trustee has “public interest standing” under

11 U.S.C. § 307, which goes beyond mere pecuniary interest).

                                 III.    FACTUAL BACKGROUND

         7.      On November 11, 2022, the Debtors filed voluntary chapter 11 petitions in this

Court.

         8.      The Debtors continue to operate their business(es) as debtors in possession

pursuant to 11 U.S.C. §§ 1107 and 1108.

         9.      The U.S. Trustee appointed an official committee of unsecured creditors on

December 15, 2022.

         10.     On November 19, 2022, the Debtors filed the Motion of Debtors for Entry of

Interim and Final Orders (I) Authorizing the Debtors to Maintain a Consolidated List of

Creditors in Lieu of Submitting a Separate Matrix for Each Debtor, (II) Authorizing the Debtors

to Redact or Withhold Certain Confidential Information of Customers and Personal Information

of Individuals and (III) Granting Certain Related Relief [D.I. 45] (the “Original Motion”),

seeking both interim and final relief.

         11.     A hearing on the interim relief sought in the Original Motion took place at the

“first day” hearing on November 22, 2022. On November 23, 2022, the Court entered an order

granting interim relief on the Motion (the “Interim Order”) and set the hearing to consider

approval of final relief for December 16, 2022. D.I. 157.

         12.     On December 12, 2022, the U.S. Trustee filed his objection to the Original

Motion. [D.I. 200, attached hereto as Ex. A.]



                                                  4
             Case
              Case22-11068-JTD
                   22-11068-JTD Doc
                                 Doc2725-1
                                     1467 Filed
                                           Filed05/09/23
                                                 09/27/23 Page
                                                           Page56ofof11
                                                                      73




       13.     On January 1, 2023, the U.S. Trustee filed his supplement to the objection to the

Original Motion. [D.I. 362, attached hereto as Ex. B.] That supplement addressed redactions of

(a) the names of parties on the parties in interest list attached to any retention application, and (b)

the names of any parties in interest with whom a professional has a connection or otherwise

makes a disclosure.

       14.     A hearing on the final relief sought by the Original Motion took place on January

11, 2023. On January 20, 2023, the Court entered the January 20 Redaction Order. D.I. 545.

That order included authorization for the Debtors to redact from all public filings the following:

               (a)      addresses and e-mail addresses of their creditors and equity holders who

       are natural persons on a permanent basis; 2

               (b)      names, addresses and e-mail addresses of their customers, including those

       customers who are not natural persons, until the “Redaction Deadline,” defined to expire

       on April 20, 2023; and

               (c)      names, addresses and e-mail addresses of any creditors or equity holders

       who are natural persons and who are protected by the GDPR, until the Redaction

       Deadline.

See January 20 Redaction Order, ¶¶ 4-6.

       15.     On March 15, 2023, the Debtors filed their schedules of assets and liabilities (the

“Schedules”) and statement of financial affairs (the “SOFAs”). The publicly filed versions of

those documents included redactions of the names and addresses of both natural persons and

entities in various parts of the Schedules and SOFAs, including in the list of insiders who

received transfers in the year prior to the bankruptcy filing, and those who received gifts or


2
       The U.S. Trustee did not object to that relief.


                                                     5
             Case
              Case22-11068-JTD
                   22-11068-JTD Doc
                                 Doc2725-1
                                     1467 Filed
                                           Filed05/09/23
                                                 09/27/23 Page
                                                           Page67ofof11
                                                                      73




charitable contributions. See, e.g., SOFA of Alameda Research Ltd., D.I. 1029 (large payments

to insiders with “Name on File” on ecf pages 45 and 46; gifts or charitable contributions to

“Name on File” on ecf pages 47 and 48). Counsel for the U.S. Trustee was told by counsel to the

Debtors that the basis for the redactions was that these persons and entities are customers of the

Debtors.

       16.     On March 22, 2023, the Ad Hoc Committee Motion was filed. D.I. 1137. In that

motion, the Ad Hoc Committee requested authorization to redact the names, addresses and email

addresses of all members of the Ad Hoc Committee, whether they be natural persons or entities,

from the Bankruptcy Rule 2019 Statements filed by the Ad Hoc Committee’s counsel. The Ad

Hoc Committee Motion also seeks authority to redact portions of a declaration submitted by one

of the members of the Ad Hoc Committee in support of the Ad Hoc Committee Motion.

       17.     On April 20, 2023, which was 90 days after the Court entered the January 20

Redaction Order, the Debtors and the Committee filed the Joint Motion.

                                      IV.     ARGUMENT

       18.     The U.S. Trustee restates and incorporates the arguments set forth in the Prior

Objections attached hereto as Exhibits A and B as if fully set forth herein.

       19.     If, however, the Court is inclined to grant the relief requested in the Motions, the

U.S. Trustee requests that certain exceptions be made, so that the following information is not

authorized to be redacted:

               (a)     Schedules and SOFA:

                       (i)    Insiders: The Debtors should not be permitted to redact the names

               of insiders on their Schedules or SOFAs, including but not limited to the names of

               insiders that received payments or other transfers from the Debtors within the year



                                                 6
    Case
     Case22-11068-JTD
          22-11068-JTD Doc
                        Doc2725-1
                            1467 Filed
                                  Filed05/09/23
                                        09/27/23 Page
                                                  Page78ofof11
                                                             73




       prior to the bankruptcy filing. Nor should the Debtors be permitted to redact the

       addresses of insiders who are not natural persons on the Schedules and SOFAs, to

       the extent such information is required by those documents. Disclosures

       regarding insiders are simply too important to allow such information to be kept

       from the Debtors’ creditors (including the Debtors’ non-insider customers) and

       other parties in interest simply because such insiders happen to be customers of

       the Debtors.

               (ii)   Non-Insiders: The Debtors should not be authorized to redact the

       names of any non-insider customers who are natural persons, or the names and

       addresses of any non-insider customers who are not natural persons, in the

       Schedules and SOFAs if it is not possible to determine from that information that

       such persons or entities are customers. For example, disclosing on a SOFA the

       name of an entity that received a charitable contribution from the Debtors does

       not in any way indicate that such entity is a customer.

       (b)     Other Documents - Insiders: The Debtors, the Committee and the Ad Hoc

Committee should not be permitted to redact the names of any insider who is a natural

person, or the names and addresses of any insider who is not a natural person, on any

other document filed with the Court, absent a separate motion seeking approval to redact

the same, so that the Court can weigh the importance of public disclosure of information

concerning the Debtors’ insiders against the Debtors’ concern that such disclosure could

lead to the poaching of their customers.

       (c)     Other Documents – Non-Insiders: Neither the Debtors, the Committee or

the Ad Hoc Committee should be permitted to redact the names of any non-insider



                                           7
             Case
              Case22-11068-JTD
                   22-11068-JTD Doc
                                 Doc2725-1
                                     1467 Filed
                                           Filed05/09/23
                                                 09/27/23 Page
                                                           Page89ofof11
                                                                      73




       customers who are natural persons, or the names and addresses of any non-insider

       customers who are not natural persons, in Court filings if it is not possible to determine

       from the information set forth in the filing that such persons or entities are in fact

       customers of the Debtors.

The Request to Redact the Names of Natural Persons Covered by Japanese Privacy Law

       20.     In the Joint Motion, the Debtors and the Committee request authority to redact the

names and addresses of customers and other creditors who are natural persons covered by a

Japanese law titled Act on the Protection of Personal Information (“APPI”). The U.S. Trustee

objects to such request on the same grounds it objected to the Debtors’ prior request for authority

to redact the names of persons covered by the GDPR of the European Union or the United

Kingdom. See Exhibit A hereto. The U.S. Trustee further objects to the request regarding those

covered by the Japanese APPI for the following reasons:

               (a)    The January 20 Redaction Order allowed redaction of names of natural

       persons protected by the GDPR. There is no mention in that order of the APPI or any

       other Japanese law. 3 It is not clear to the U.S. Trustee whether the Debtors have been

       redacting the names of natural persons covered by the APPI even though the January 20

       Redaction Order does not provide authority to do so. If not, then those names have

       already been publicly disclosed.

               (b)    The Joint Motion has scant information regarding the APPI. There is only

       one paragraph addressing the content of that law, paragraph 43. No certified translation




3
    The Debtors’ Original Motion did not mention Japanese law, although the Debtors’ reply on
    that motion included a one paragraph argument that paraphrased certain parts of the Japanese
    law. See I.D. 407, ¶ 17.

                                                  8
             Case
              Case22-11068-JTD
                   22-11068-JTD Doc
                                 Doc2725-1
                                     1467 Filed
                                           Filed 05/09/23
                                                 09/27/23 Page
                                                          Page 910ofof1173




       (or any translation) of the law has been provided. In addition, in the Joint Motion, the

       movants assert that “[w]hile there is a statutory exception for disclosure if it is required

       by law, this exception does not apply where the applicable law is foreign law (such as

       U.S. law).” Id., citing the APPI, Art. 27(1)(i). However, because no translation of the

       statute is provided, that assertion cannot be confirmed. Nor can it be determined if there

       might be another applicable exception, or whether the Debtors’ interpretation of the law

       is otherwise incorrect or incomplete.

Other Objections to the Proposed Form of Order on the Joint Motion

       21.      In addition to the overall objection to the relief sought by the Joint Motion, the

U.S. Trustee also objects to the following aspects of the form of order:

                (a)    The proposed form of order has two different provisions relating to the

       redaction of the names of customers who are natural persons. One provision is set forth

       as part of paragraph 2, and extends the time for which the Debtors and the Committee are

       authorized to redact the names of all customers – including natural persons – for an

       additional 90 days from the date of the entry of the order. The other provision is set forth

       in paragraph 3, and appears to provide authority to redact the names of customers who

       are natural persons on a permanent basis. If the Court grants the request set forth in the

       Joint Motion to allow redaction of the names of customers, it should be clear as to the

       time period the Debtors and the Committee are authorized to redact the names of

       customers who are natural persons.

                (b)    In the January 20 Redaction Order, the Court made an exception to the

       authority to redact as it concerned the names on the Debtors’ Consolidated List of Top 50

       Creditors of creditors who are members of the Official Committee of Unsecured



                                                  9
              Case
               Case22-11068-JTD
                    22-11068-JTD Doc
                                  Doc2725-1
                                      1467 Filed
                                            Filed05/09/23
                                                  09/27/23 Page
                                                            Page10
                                                                 11ofof11
                                                                        73




        Creditors, and the addresses, email addresses or phone numbers of any creditor who is

        not a natural person and was appointed to that Committee. D.I. 545, ¶ 10. That exception

        is not continued in the proposed order on the Joint Motion, as it should be.

The Ad Hoc Committee’s Motion

        22.      As noted above, in the January 20 Redaction Order, the Court made an exception

to the authority to redact as it relates to the creditors on the Official Committee of Unsecured

Creditors. If the Court grants the Ad Hoc Committee’s Motion, the U.S. Trustee requests that

the right of all parties in interest be reserved to request, at a later date, that the names of the

members of the Ad Hoc Committee be publicly disclosed, depending on the role the Ad Hoc

Committee may take in these cases, including but not limited to any role it may take in

negotiating a chapter 11 plan.

        23.      The U.S. Trustee leaves the movants to their burden of proof and reserves any and

all rights, remedies and obligations to, inter alia, complement, supplement, augment, alter and/or

modify this Objection, file an appropriate Motion and/or conduct any and all discovery as may

be deemed necessary or as may be required and to assert such other grounds as may become

apparent upon further factual discovery.

        WHEREFORE, the U.S. Trustee respectfully requests that the Court deny the relief

requested by the Motions, except to allow the redaction from public filings of the addresses and

email addresses – but not names – of individuals who are customers or other creditors of the

Debtors, and grant any such other and further relief that the Court deems just and proper.




                                                   10
          Case
           Case22-11068-JTD
                22-11068-JTD Doc
                              Doc2725-1
                                  1467 Filed
                                        Filed05/09/23
                                              09/27/23 Page
                                                        Page11
                                                             12ofof11
                                                                    73




                                     Respectfully Submitted,

                                     ANDREW R. VARA,
                                     UNITED STATES TRUSTEE
                                     REGIONS 3 AND 9


Dated: May 9, 2023
                                     By: /s/ Juliet Sarkessian
                                     Juliet Sarkessian, Esq.
                                     Trial Attorney
                                     United States Department of Justice
                                     Office of the United States Trustee
                                     J. Caleb Boggs Federal Building
                                     844 N. King Street, Room 2207, Lockbox 35
                                     Wilmington, DE 19801
                                     (302) 573-6491
                                     Juliet.M.Sarkessian@usdoj.gov




                                       11
Case
Case22-11068-JTD
     22-11068-JTD Doc
                  Doc2725-1
                      1467-1 Filed
                             Filed09/27/23
                                   05/09/23 Page
                                            Page13
                                                 1 of
                                                   of52
                                                      73




                   EXHIBIT A
               Case
               Case
                 Case
                    22-11068-JTD
                     22-11068-JTD
                      22-11068-JTD Doc
                                   Doc
                                     Doc
                                       2725-1
                                        1467-1
                                         200 Filed
                                               Filed
                                               Filed12/12/22
                                                     09/27/23
                                                      05/09/23 Page
                                                                Page
                                                                Page114
                                                                      2ofof
                                                                         of
                                                                          3552
                                                                            73




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                        :
                                                        :   Chapter 11
    In re                                               :
                                                        :   Case No. 22-11068 (JTD)
    FTX TRADING LTD., et al., 1                         :   (Jointly Administered)
                                                        :
                                   Debtors.             :   Hearing Date: December 16, 2022, at 10:00 a.m.
                                                        :
                                                            Objection Deadline: December 9, 2022, extended
                                                        :   for the U.S. Trustee to December 14, 2022 at 12:00
                                                            p.m.

                                                            Re: D.I. 45


 UNITED STATES TRUSTEE’S OBJECTION TO THE MOTION OF THE DEBTORS
FOR ENTRY OF INTERIM AND FINAL ORDERS (I) AUTHORIZING THE DEBTORS
      TO MAINTAIN A CONSOLIDATED LIST OF CREDITORS IN LIEU OF
 SUBMITTING A SEPARATE MATRIX FOR EACH DEBTOR, (II) AUTHORIZING
    THE DEBTORS TO REDACT OR WITHHOLD CERTAIN CONFIDENTIAL
     INFORMATION OF CUSTOMERS AND PERSONAL INFORMATION OF
       INDIVIDUALS AND (III) GRANTING CERTAIN RELATED RELIEF


            Andrew R. Vara, the United States Trustee for Regions Three and Nine (the “U.S.

Trustee”), through his undersigned counsel, files this objection (the “Objection”) to the Motion

of the Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to Maintain a

Consolidated List of Creditors in Lieu of Submitting a Separate Matrix for Each Debtor, (II)

Authorizing the Debtors to Redact or Withhold Certain Confidential Information of Customers

and Personal Information of Individuals and (III) Granting Certain Related Relief (the

“Motion”) [D.I. 45], and respectfully states:


1
      The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers
      are 3288 and 4063, respectively. Due to the large number of debtor entities in these chapter 11 cases,
      a complete list of the Debtors and the last four digits of their federal tax identification numbers is not
      provided herein. A complete list of such information may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.ra.kroll.com/FTX.
             Case
             Case
               Case
                  22-11068-JTD
                   22-11068-JTD
                    22-11068-JTD Doc
                                 Doc
                                   Doc
                                     2725-1
                                      1467-1
                                       200 Filed
                                             Filed
                                             Filed12/12/22
                                                   09/27/23
                                                    05/09/23 Page
                                                              Page
                                                              Page215
                                                                    3ofof
                                                                       of
                                                                        3552
                                                                          73




                              I.       PRELIMINARY STATEMENT

        1.      The bankruptcy process operates, like the rest of the court system, on the bedrock

principle of American jurisprudence that the public has a right of access to judicial records.

Only under limited circumstances may a federal court restrict or deny that access. Here, the

Debtors seek authority for a wholesale redaction from “any paper filed or to be filed with the

Court or made publicly available in these chapter 11 Cases,” of the following information: (a) the

names, addresses and email addresses of all customers (who are also creditors of the Debtors),

whether such customers are individuals, or legal entities, (b) the names, addresses and email

addresses of all non-customer individual creditors or equity holders who are citizens of the

United Kingdom (“UK”) or member nations of the European Union (“EU”), and are covered by

the EU or UK General Data Protection Regulation (collectively the “GDPR”), and (c) the

addresses and email addresses of all other creditors or equity holders who are individuals,

regardless of citizenship. 2 Mot. ¶ 12; Proposed Final Order ¶¶ 4, 5 [D.I. 45-2]. The documents

that would be subject to such redactions include (but are not limited to) the Debtors’ Creditor

Matrix, 3 Consolidated Top 50 Creditor List, Schedules and Statements, the claims register, proof

of claims and affidavits of service.

        2.      The U.S. Trustee does not object to the filing under seal of the addresses or e-mail

addresses of customers or other creditors who are individuals. The U.S. Trustee does, however,

object to the sealing of the names of such customers and creditors, and the sealing of the names,

addresses and other contact information for customers or creditors who are not individuals.



2
    The U.S. Trustee does not object to that portion of the Motion that seeks authority to maintain a
    consolidated list of creditors, or for approval of certain procedures to serve the notice of the
    commencement of the cases on creditors.
3
    Any capitalized terms not defined herein shall have the definition set forth in the Motion.

                                                     2
             Case
             Case
               Case
                  22-11068-JTD
                   22-11068-JTD
                    22-11068-JTD Doc
                                 Doc
                                   Doc
                                     2725-1
                                      1467-1
                                       200 Filed
                                             Filed
                                             Filed12/12/22
                                                   09/27/23
                                                    05/09/23 Page
                                                              Page
                                                              Page316
                                                                    4ofof
                                                                       of
                                                                        3552
                                                                          73




        3.      Disclosure is a basic premise of bankruptcy law. Indeed, it is fundamental to the

operation of the bankruptcy system and is the best means of avoiding any suggestion of

impropriety that might or could be raised. The Bankruptcy Code contains very limited and

specific exceptions to the general rule that bankruptcy proceedings should be open and

transparent. The movant must demonstrate extraordinary circumstances and a compelling need

to obtain protection to justify any such request. This is especially true as to information required

to be filed by the Bankruptcy Code, Bankruptcy Rules, and the Local Rules, such as the Creditor

Matrix, Schedules and Statements. Here, with nothing more than vague statements supporting

the request, the Debtors seek extremely broad authority to conduct a significant portion of the

bankruptcy cases under seal. If the Motion is granted, the ability of interested parties to evaluate

the Debtors and their bankruptcy process and to communicate and find each other will be

significantly curtailed.

        4.      In addition to creating unfavorable precedent in this and other crypto industry

chapter 11 cases, and in any other bankruptcy case in which a debtor has creditors who are

customers, allowing the Debtors to file incomplete creditor lists and Schedules and Statements is

a slippery slope. Do the Debtors intend to conduct all of their claim objections under seal? Will

certain creditors’ treatment in a plan be redacted? Will objections to the disclosure statement

and confirmation also be sealed? Will the hearings before the Court in these cases have to be

repeatedly closed? It is well settled that, as a matter of promoting the integrity of the judicial

system, bankruptcy proceedings must be open and transparent. 4 Accordingly, the Debtors’

request should be denied.



4
    Although more than a month has passed since the bankruptcy filings, the Debtors have yet to file their
    Creditor Matrix, even though such creditor matrix is required under the Local Rules to be filed with
    the petition. See Del. Bankr. L.R. 1007-2 (a).

                                                    3
             Case
             Case
               Case
                  22-11068-JTD
                   22-11068-JTD
                    22-11068-JTD Doc
                                 Doc
                                   Doc
                                     2725-1
                                      1467-1
                                       200 Filed
                                             Filed
                                             Filed12/12/22
                                                   09/27/23
                                                    05/09/23 Page
                                                              Page
                                                              Page417
                                                                    5ofof
                                                                       of
                                                                        3552
                                                                          73




        5.      As to the names of those customers and other creditors who are individual

citizens of the United Kingdom or of member countries of the European Union, the Debtors

assert only cursorily that the GDPR constrains them from disclosing information regarding such

creditors, at the risk of incurring penalties. The Motion fails to establish that a foreign statute

supplants the disclosure requirements of the Bankruptcy Code and fails to establish any

entitlement to relief. Also not addressed in the Motion is that the GDPR contains a “safe harbor”

permitting the Debtors to disclose such information in the Debtors’ exercise of their rights and

duties in these bankruptcy cases.

        6.      In another cryptocurrency matter, the United States Bankruptcy Court for the

Southern District of New York recently ruled that the debtors could not redact the names of

customers and creditors who were individuals, regardless of the country of their citizenship, but

could redact their addresses and email addresses under 107(c) of the Code. See In re Celsius

Network, LLC, 644 B.R. 276 (Bankr. S.D.N.Y 2022). As to customers and creditors who were

not individuals, the court did not authorize the redaction of any information. The U.S. Trustee

recognizes that this Court ruled differently in In re Cred Inc., et al. (20-12836 (JTD)). However,

the U.S. Trustee requests that the Court reexamine these issues and limit any relief granted to

that authorized in Celsius.

        7.      Finally, it appears the Debtors are seeking to avoid having to file unredacted

versions under seal of any documents the Court permits to be redacted in the publicly viewable

version. Instead, the Debtors propose providing unredacted copies to the Court only “upon

request.” Proposed Final Order ¶ 7. Such proposal is contrary to the procedures for sealing set

forth in the Local Rules of this Court. Del. Bankr. L.R. 9018-1(d).




                                                  4
               Case
               Case
                 Case
                    22-11068-JTD
                     22-11068-JTD
                      22-11068-JTD Doc
                                   Doc
                                     Doc
                                       2725-1
                                        1467-1
                                         200 Filed
                                               Filed
                                               Filed12/12/22
                                                     09/27/23
                                                      05/09/23 Page
                                                                Page
                                                                Page518
                                                                      6ofof
                                                                         of
                                                                          3552
                                                                            73




          8.      For these reasons, set forth in more detail below, the Debtors’ Motion should be

denied as it concerns redaction of information, except as to allow the redaction from public

filings of the addresses and e-mail addresses – but not names – of individuals who are customers

or other creditors of the Debtors, with unredacted versions of such documents directed to be filed

under seal with the Court.

                        II.    JURISDICTION, VENUE AND STANDING

         4.       Pursuant to (i) 28 U.S.C. § 1334, (ii) applicable order(s) of the United States

District Court for the District of Delaware issued pursuant to 28 U.S.C. § 157(a), and (iii) 28

U.S.C. § 157(b)(2)(A), this Court has jurisdiction to hear and determine this Objection.

         5.       Under 28 U.S.C. § 586, the U.S. Trustee is charged with overseeing the

administration of Chapter 11 cases filed in this judicial district. This duty is part of the U.S.

Trustee’s overarching responsibility to enforce the bankruptcy laws as written by Congress and

interpreted by the courts. See Morgenstern v. Revco D.S., Inc. (In re Revco D.S., Inc.), 898 F.2d

498, 500 (6th Cir. 1990) (describing the U.S. Trustee as a “watchdog”).

         6.       Under 11 U.S.C. § 307, the U.S. Trustee has standing to be heard on this

Objection. See United States Trustee v. Columbia Gas Sys., Inc. (In re Columbia Gas Sys., Inc.),

33 F.3d 294, 295-96 (3d Cir. 1994) (noting that U.S. Trustee has “public interest standing” under

11 U.S.C. § 307, which goes beyond mere pecuniary interest).

                                  III.    FACTUAL BACKGROUND

General Case Background

         7.       On November 11, 2022, the Debtors filed voluntary chapter 11 petitions in this

Court.

         8.       The Debtors continue to operate their business(es) as debtors in possession



                                                    5
                Case
                Case
                  Case
                     22-11068-JTD
                      22-11068-JTD
                       22-11068-JTD Doc
                                    Doc
                                      Doc
                                        2725-1
                                         1467-1
                                          200 Filed
                                                Filed
                                                Filed12/12/22
                                                      09/27/23
                                                       05/09/23 Page
                                                                 Page
                                                                 Page619
                                                                       7ofof
                                                                          of
                                                                           3552
                                                                             73




pursuant to 11 U.S.C. §§ 1107 and 1108.

        9.         The U.S. Trustee has solicited interest in serving on an official committee of

unsecured creditors. As of the date this Objection was filed, the U.S. Trustee had not formed any

official committees.

        10.        On December 1, 2022, the U.S. Trustee filed a Motion for Entry of an Order

Directing the Appointment of an Examiner. D.I. 176.

The Motion and Supporting Declaration

        11.        On November 11, 2022, the Debtors filed the Motion, seeking both interim and

final relief.

        12.        On November 20, 2022, the Debtors filed the Declaration of Edgar W. Mosley, II,

in Support of Chapter 11 Petitions and First Day Pleadings (the “Mosley Declaration”) [D.I.

57]. In the Mosley Declaration, Mr. Mosely stated that he is a Managing Director of Alvarez &

Marsal, North America LLC, a restructuring advisory services firm, which was retained by the

Debtors two days prior to the bankruptcy filing to assist in the process of preparing for chapter

11 filing. Mosely Decl. ¶¶ 1, 5. A portion of his declaration addressed the relief sought in the

Motion. In particular, Mr. Mosley stated the following in support of that portion of the Motion

that seeks to redact information in Court filings relating to customers and creditors:

                   It is my view that the Debtors’ estates and their customers would benefit from
                   the redaction of certain confidential customer information. The Debtors
                   operate a global platform catering to customers in various forms of
                   cryptocurrency. All of the Debtors’ customers are creditors. Thus, the
                   Debtors’ customer list, and related customer data, is a valuable asset to the
                   Debtors’ estate. Public dissemination of the Debtors’ customer list could give
                   the Debtors’ competitors an unfair advantage to contact and poach these
                   customers, and I believe it would interfere with the Debtors’ ability to sell
                   their assets and maximize value for their estates at the appropriate time.

                   Likewise, I believe that it is in the Debtors’ and their estates’ best interest to
                   redact certain personal information of individuals. It is my understanding that

                                                      6
              Case
              Case
                Case
                   22-11068-JTD
                    22-11068-JTD
                     22-11068-JTD Doc
                                  Doc
                                    Doc
                                      2725-1
                                       1467-1
                                        200 Filed
                                              Filed
                                              Filed12/12/22
                                                    09/27/23
                                                     05/09/23 Page
                                                               Page
                                                               Page720
                                                                     8ofof
                                                                        of
                                                                         3552
                                                                           73




                 the Debtors may be subject to the GDPR, which restricts disclosure of certain
                 personal information. It is also my understanding that, notwithstanding the
                 Court’s authorization for the Debtors to redact personal information of
                 customers and individuals, the Debtors will instruct Kroll to serve these
                 individuals on their personal addresses or e-mail addresses, as applicable. For
                 these reasons, the relief requested in the Creditor Matrix Motion is in the best
                 interest of the Debtors, the creditors, and all interested parties.

See id. ¶¶ 18-19. 5

        13.      Mr. Mosely’s declaration is the only evidence the Debtors have introduced to date

in support of the Motion. The statements quoted above are the only statements set forth in the

Mosely Declaration concerning redaction of information in Court filings relating to customers

and other creditors.

        14.      Neither the Motion nor the Mosely Declaration indicate the number of individuals

who are customers or creditors of the Debtors and who are citizens of EU member countries or

the UK. Nor do the Debtors explain how they will determine which of their customers are

citizens of EU or the UK, given that the only address the Debtors may have for certain of their

customers are email addresses, and even for those customers who provided mailing addresses, a

mailing address does not establish citizenship.

        15.      A hearing on the interim relief sought in the Motion took place at the “first day”

hearing on November 22, 2022. On November 23, 2022, the Court entered an order granting

interim relief on the Motion (the “Interim Order”) and set the hearing to consider approval of

final relief for December 16, 2022. D.I. 157.

        16.      The Interim Order required the Debtors to file an unredacted creditor matrix under


5
    It is unclear whether the statements quoted above are based on Mr. Mosley’s personal knowledge, or
    instead are based on information Mr. Mosely “obtained from the Debtors and their advisors, including
    the A&M team working under [his] supervision, [his] review of relevant documents and information
    concerning the Debtors’ operations, financial affairs, and restructuring initiatives” and his “opinions
    based upon [his] experience and knowledge.” See id. ¶ 6.

                                                    7
              Case
              Case
                Case
                   22-11068-JTD
                    22-11068-JTD
                     22-11068-JTD Doc
                                  Doc
                                    Doc
                                      2725-1
                                       1467-1
                                        200 Filed
                                              Filed
                                              Filed12/12/22
                                                    09/27/23
                                                     05/09/23 Page
                                                               Page
                                                               Page821
                                                                     9ofof
                                                                        of
                                                                         3552
                                                                           73




seal with the Court. Interim Order ¶ 7. 6 As of the filing of this Objection, the lead case docket

does not reflect the filing of any Creditor Matrix, whether under seal or in a redacted format,

even though a creditor matrix is required by Local Rule 1007-2(a) to be filed by the debtors with

the petition.

The Debtors’ Policies for Sharing Customer Information

        17.      The Debtors’ Privacy Policy for the FTX Cryptocurrency Derivatives Exchange

(the “Privacy Policy”), a copy of which is attached as Exhibit A hereto, includes the following

regarding the disclosure of customer information to third parties:

        DISCLOSING YOUR INFORMATION TO THIRD PARTIES

        We may share your personal information with the following categories of third
        parties:

        Service Providers. We may share any personal information we collect about you
        with our third-party service providers. The categories of service providers
        (processors) to whom we entrust personal information include: IT and related
        services; banks and trust companies; information and services; payment processors;
        customer service providers; and vendors to support the provision of the Services.

        ....

        Business Partners. We may provide personal information to business partners with
        whom we jointly offer products or services. In such cases, our business partner’s
        name will appear along with ours.

        ....

        Affiliates. We may share personal information with our affiliated companies.

        Advertising Partners. Through our Services, we may allow third party advertising
        partners to set Technologies and other tracking tools to collect information
        regarding your activities and your device (e.g., your IP address, mobile identifiers,
        page(s) visited, location, time of day). We may also combine and share such
        information and other information (such as demographic information and past
        purchase history) with third party advertising partners. These advertising partners
        may use this information (and similar information collected from other websites) for

6
    This provision was included in the proposed interim order at the request of counsel to the U.S.
    Trustee.

                                                    8
             Case
               Case
                  22-11068-JTD
                    22-11068-JTD Doc
                                   Doc
                                     1467-1
                                     2725-1
                                       200 Filed
                                            Filed12/12/22
                                                  05/09/23 Page
                                                  09/27/23  Page922
                                                                 10
                                                                  of of
                                                                     3573
                                                                        52




       purposes of delivering targeted advertisements to you when you visit third party
       websites within their networks. This practice is commonly referred to as “interest-
       based advertising” or “online behavioral advertising. We may allow access to other
       data collected by the Services to share information that may be useful, relevant,
       valuable or otherwise of interest to you. If you prefer not to share your personal
       information with third party advertising partners, you may follow the instructions
       below.

       Disclosures to Protect Us or Others. We may access, preserve, and disclose any
       information we store associated with you to external parties if we, in good faith,
       believe doing so is required or appropriate to: comply with law enforcement or
       national security requests and legal process, such as a court order or subpoena;
       protect your, our or others’ rights, property, or safety; enforce our policies or
       contracts; collect amounts owed to us; or assist with an investigation or prosecution
       of suspected or actual illegal activity.

       Disclosure in the Event of Merger, Sale, or Other Asset Transfers. If we are
       involved in a merger, acquisition, financing due diligence, reorganization,
       bankruptcy, receivership, purchase or sale of assets, or transition of service to another
       provider, then your information may be sold or transferred as part of such a
       transaction, as permitted by law and/or contract.

Privacy Policy at 8-9 (emphasis added).

       18.      The Privacy Policy further provides: “[w]e store the personal information we

receive as described in this Privacy Policy for as long as you use our Services or as necessary to

fulfill the purpose(s) for which it was collected, provide our Services, resolve disputes, establish

legal defenses, conduct audits, pursue legitimate business purposes, enforce our agreements, and

comply with applicable laws. Id. at 13 (emphasis added).

                                 IV.     LEGAL FRAMEWORK

   A. Debtors in Bankruptcy Are Required to File
      Certain Information Regarding Their Creditors

       19.      The Bankruptcy Code states that the debtor “shall . . . file, unless the court orders

otherwise - a schedule of assets and liabilities,” and “statement of the debtor’s financial affairs, “

among other information. 11 U.S.C. § 521(a)(1)(B)(i)(emphasis added). Rule 1007-1(b) of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) provides that a debtor, other


                                                  9
             Case
              Case22-11068-JTD
                   22-11068-JTD Doc
                                 Doc2725-1
                                    1467-1
                                     200 Filed
                                           Filed12/12/22
                                                 05/09/23 Page
                                                 09/27/23  Page1023
                                                                 11ofof3573
                                                                         52




than one under chapter 9, shall file schedules of assets and liabilities, of current income an

expenditures, of executory contracts and unexpired leases, and a statement of financial affairs,

among other documents.

       20.      Bankruptcy Rule 1007(a)(1) requires that a debtor in a voluntary case “file with

the petition a list containing the name and address of each entity included or to be included on

Schedules D, E/F, G and H as prescribed by the Official Forms.”

       21.      Rule 1007-2(a) of the Local Rules of this Court provide that “[i]n all voluntary

cases, the debtor shall file with the petition a list containing the name and complete address of

each creditor in such format as directed by the Clerk’s Office Procedures.” Del. Bankr. L.R.

1007-2(a) (emphasis added).

       22.      Debtors in chapter 11 and chapter 9 cases are also required to file Official Form

201, setting forth a list of creditors with the largest unsecured claims that are not insiders. That

form requires the provision of the following information for such creditors: name, complete

mailing address, the name, telephone number and email address of a creditor contact, and the

nature and amount of claim.

   B. The Right of Public Access to Judicial Records

       23.      In American jurisprudence, there is a long-standing, common law right of public

access to court records. See Nixon v. Warner Commc’ns Inc., 435 U.S. 589, 591 (1978) ([i]t is

clear that the courts of this country recognize a general right to inspect and copy public records

and documents, including judicial records and documents.”) The public's right of access

envisions “a pervasive common law right to inspect and copy public records and documents,

including judicial records and documents.” In re Cendant Corp., 260 F.3d 183, 194 (3rd Cir.

2001) (citations omitted).



                                                  10
              Case
               Case22-11068-JTD
                    22-11068-JTD Doc
                                  Doc2725-1
                                     1467-1
                                      200 Filed
                                            Filed12/12/22
                                                  05/09/23 Page
                                                  09/27/23  Page1124
                                                                  12ofof3573
                                                                          52




        24.      The “access to civil proceedings and records promotes public respect for the

judicial process.” Id. (citations omitted). Such access is “rooted in the public’s First

Amendment right to know about the administration of justice.” Motors Liquidation Co.

Avoidance Action Trust v. JP Morgan Chase Bank, N.A. (In re Motors Liquidation Co.), 561

B.R. 36, 41 (Bankr S.D.N.Y. 2016). This right is “firmly entrenched and well supported by

policy and practical considerations.” Orion Pictures Corp. v. Video Software Dealers Assoc., 21

F.3d 24, 26 (2d Cir. 1994).

        25.      The right of public access has given rise to “a strong presumption and public

policy in favor of public access to court records.” In re Borders Grp., Inc., 462 B.R. 42, 46

(Bankr. S.D.N.Y. 2011). This presumption “is based on the need for federal courts . . . to have a

measure of accountability and for the public to have confidence in the administration of justice . .

. [P]ublic monitoring is an essential feature of democratic control.” United States v. Amodeo, 71

F.3d 1044, 1048 (2d Cir. 1995). The Second Circuit has issued this pointed guidance:

                 There must be a strong presumption against sealing any document that is
                 filed with the court. Our courts do not operate in secrecy. Except on rare
                 occasions and for compelling reasons, everything that courts do is subject
                 to public scrutiny. To hide from the public entire proceedings, or even
                 particular documents or testimony forming a basis for judicial action that
                 may directly and significantly affect public interests, would be contrary to
                 the premises underling a free, democratic society.

City of Hartford v. Chase, 942 F.2d 130, 137 (2d Cir. 1991).

    C. The Right to Public Access Is Codified in the Bankruptcy Code

        26.      In our bankruptcy system, it is widely acknowledged that the governmental

interest is safeguarding public access to judicial records is “of special importance . . . , as

unrestricted access to judicial records fosters confidence among creditors regarding fairness in

the bankruptcy system.” Motors Liquidation, 561 B.R. at 41, quoting Gitto v. Worcester



                                                  11
             Case
              Case22-11068-JTD
                   22-11068-JTD Doc
                                 Doc2725-1
                                    1467-1
                                     200 Filed
                                           Filed12/12/22
                                                 05/09/23 Page
                                                 09/27/23  Page1225
                                                                 13ofof3573
                                                                         52




Telegram & Gazette Corp. (In re Gitto Global Corp.), 422 F.3d. 1, 7 (1st Cir. 2005) (quoting In

re Crawford, 194 F.3d. 954, 960 (9th Cir. 1999). Described as “fundamental to the operation of

the bankruptcy system and . . . the best means of avoiding any suggestion of impropriety that

might or could be raised,” the policy of open inspection, as applied in this Court, cannot be

underestimated. Motors Liquidation, 561 B.R. at 41-42, quoting In re Bell & Beckwith, 44 B.R.

661, 664 (Bankr. N.D. Ohio 1984).

       27.      The common law right of public access to judicial records has been codified in

section 107(a) of the Bankruptcy Code. Togut v. Deutsche Bank AG (In re Anthracite Capital

Inc.), 492 B.R. 162, 170, 173 (Bankr S.D.N.Y. 2013); see also Gitto Global, 422 F.3d at 7-8

(section 107 supplants the common law of public access). Pursuant to § 107(a), papers filed in

bankruptcy cases and the Court’s dockets are “public records, open to examination by an entity

at reasonable times without charge.” 11 U.S.C. § 107(a); Anthracite, 492 B.R. at 170.

   D. The Limited Exception of Bankruptcy Code § 107(c)

       28.      Despite its deep underpinnings, the right to public access to court records is “not

absolute.” Nixon, 435 U.S. at 598; Motors Liquidation, 561 B.R. at 42. “Every court has

supervisory power over its own records and files, and access has been denied where court files

might have become a vehicle for improper purposes.” Nixon, 435 U.S. at 598; Orion Pictures,

21 F.3d at 27 (noting that court may limit access where user’s purpose is improper).

       29.      Section 107(b)(1) of the Code provides that, “[o]n request of a party in interest,

the bankruptcy court shall, . . . protect an entity with respect to a trade secret or confidential

research, development or commercial information.” 11 U.S.C. § 107(b)(1). Section 107(b) of

the Code provides a “narrow statutory exception” to public access in bankruptcy cases.” In re

Muma Services, Inc., 279 B.R. 478, 484 (Bankr. D. Del. 2002).



                                                  12
             Case
              Case22-11068-JTD
                   22-11068-JTD Doc
                                 Doc2725-1
                                    1467-1
                                     200 Filed
                                           Filed12/12/22
                                                 05/09/23 Page
                                                 09/27/23  Page1326
                                                                 14ofof3573
                                                                         52




       30.      Section 107(c)(1), added to the Code through the Bankruptcy Abuse Prevention

and Consumer Protection Act of 2005, “broadened the situations in which the court could protect

individuals from disclosure of sensitive information in light of the emerging problem of identity

theft.” 2 Collier on Bankruptcy ¶ 107.LH[2] (16th ed.). The statute provides:

                (c)(1) The bankruptcy court, for cause, may protect an individual, with
                respect to the following types of information to the extent the court finds
                that disclosure of such information would create undue risk of identity
                theft or other unlawful injury to the individual or the individual's property:
                   (A) Any means of identification (as defined in section 1028(d) of title
                   18) contained in a paper filed, or to be filed, in a case under this title.
                   (B) Other information contained in a paper described in subparagraph
                   (A).

11 U.S.C. § 107(c)(emphasis added).

       31.      Section 1028(d)(7) of title 18 (“Fraud and related activity in connection with

identification documents, authentication features, and information”) defines “means of

identification” as “any name or number that may be used, alone or in conjunction with any other

information, to identify a specific individual,” including any –

                (A) name, social security number, date of birth, official State or
                government issued driver’s license or identification number, alien
                registration number, government passport number, employer or taxpayer
                identification number;
                (B) unique biometric data (such as finger print, voice print retina or iris
                image, or other unique physical representation);
                (C) unique electronic identification number, address, or routing code; or
                (D) telecommunication identifying information or access device (as
                defined in section 1029(e)).

18 U.S.C. § 1028(d)(7).

       32.      The specific “purpose of § 107(c) is to set forth a limited exception to the general

rule that all records are public.” In re French, 401 B.R. 295, 305 (Bankr. E.D. Tenn. 2009).

Accordingly, under the precise structure and deliberate terms of § 107(c), the Court, in the
                                                  13
             Case
              Case22-11068-JTD
                   22-11068-JTD Doc
                                 Doc2725-1
                                    1467-1
                                     200 Filed
                                           Filed12/12/22
                                                 05/09/23 Page
                                                 09/27/23  Page1427
                                                                 15ofof3573
                                                                         52




exercise of its discretion, may limit public access of certain identification information only if it

determines that (1) cause exists, and (2) to the extent dissemination of the information would

constitute an undue risk of identity theft. Id. (emphasis added). The Supreme Court has

“emphasized that the word ‘may’ clearly connotes discretion.” Halo Elecs., Inc. v. Pulse Elecs.,

Inc., 579 U.S. 93, 136 S. Ct. 1923, 1931 (2016). “Undue,” which appears as a modifier in

section 107(c), is not defined in the Bankruptcy Code, and generally means “excessive or

unwarranted.” Black’s Law Dictionary (3rd pocket ed. 2006). With regard to the statutory

interpretation of modifiers, such as “undue,” the Court has the “duty to ‘give effect, if possible,

to every clause and word of [the] statute.’” In re Mazzeo, 131 F.3d 295, 302 (2d Cir. 1997)

(interpreting “liquidated” and “noncontingent” as modifiers of “debts” in § 109(e)), quoting

United States v. Menasche, 348 U.S. 528, 538-39 (1955).

       33.      Given the express limitations in the statute permitting a bankruptcy court to

“protect an individual” solely “to the extent” that “undue” risk is present, § 107(c)(1), like § 107

in general, “does not mandate sealing – only protection.” Motions Seeking Access to 2019

Statements, 585 B.R. 733, 753 (D. Del. 2018), quoting Anthracite, 492 B.R. at 180. It follows

from this principle that the Court’s consideration of a request for relief under § 107(c)(1)

necessarily entails a consideration of competing interests. Id., 585 B.R. at 755-57.

   E. The Debtors Have the Burden of Proof Under § 107(b)(1) and (c)(1)

       34.      In seeking to apply any exception to the general right of public access to judicial

records, codified by section 107(a) of the Bankruptcy Code, “[t]he burden is on the party who

seeks to overcome the presumption of access to show that the interest in secrecy outweighs the

presumption.” Cendant Corp., 260 F.3d at 194. In Cendant, the Third Circuit Court of Appeals

further explained:



                                                  14
             Case
              Case22-11068-JTD
                   22-11068-JTD Doc
                                 Doc2725-1
                                    1467-1
                                     200 Filed
                                           Filed12/12/22
                                                 05/09/23 Page
                                                 09/27/23  Page1528
                                                                 16ofof3573
                                                                         52




                [T]he party seeking the closure of a hearing or the sealing of part of the
                judicial record “bears the burden of showing that the material is the kind
                of information that courts will protect'' and that “disclosure will work a
                clearly defined and serious injury to the party seeking closure.'' In
                delineating the injury to be prevented, specificity is essential. Broad
                allegations of harm, bereft of specific examples or articulated reasoning,
                are insufficient.

Id. (internal citations omitted, emphasis added).

       35.      The moving party bears the burden of showing that a request to place documents

under seal falls within the parameters of Bankruptcy Code § 107(b) and Bankruptcy Rule 9018

by demonstrating “. . . that the interest in secrecy outweighs the presumption in favor of access.”

United States v. Continental Airlines, Inc.. (In re Continental Airlines, Inc.), 150 B.R. 334, 340

(D.Del. 1993); accord Food Mgmt. Group, 359 B.R. at 561 (Bankr. S.D.N.Y. 2007); In re

Fibermark, Inc., 330 B.R. 480 (Bankr. D. Vt. 2005).

       36.      The burden of proof to seal or redact filed bankruptcy papers “is not an easy

burden nor should it be. . . . The party seeking impoundment must submit ‘evidence the filing

under seal outweighs the presumption of public access to court records.’” In re Creighton, 490

B.R. 240, 244 (Bankr. N.D. Ohio 2013), quoting Gitto/Global, 321 B.R. at 373, quoting In re

Muma Servs. Inc., 279 B.R. 478, 485 (Bankr. D. Del. 2002). “[S]ealing official documents,” as

the Debtors would like, “should not be done without a compelling reason.” City of Hartford, 942

F.2d at 135.

    F. The General Data Protection Regulation

       37.      The EU’s privacy law, known as the GDPR, became effective as of May 25,

2018, and establishes standards for entities that collect or process data on citizens and residents

of EU member countries. 7 At the unified EU level, the GDPR is administered by the European


7
    A copy of the GDPR can be accessed at https://eur-lex.europa.eu/legal-
    content/EN/TXT/?uri=celex:32016R0679R(02) or https://gdpr.eu/tag/gdpr/.

                                                 15
             Case
              Case22-11068-JTD
                   22-11068-JTD Doc
                                 Doc2725-1
                                    1467-1
                                     200 Filed
                                           Filed12/12/22
                                                 05/09/23 Page
                                                 09/27/23  Page1629
                                                                 17ofof3573
                                                                         52




Commission (“EU Commission”), which is responsible for proposing EU-wide legislation,

implementing decisions of EU member states, upholding EU treaties, and managing the EU’s

daily affairs. Also, the European Data Protection Board, which includes representatives from

data protection authorities of each EU member state, has promulgated guidelines for compliance

with the GDPR. See www.edpb.europa.eu.

       38.      With respect to individuals who are citizens of the UK, all data processing and

collection of data prior to December 31, 2020 falls under EU’s GDPR, because the UK was a

member of the EU through that date. Data collected after that date falls under the UK’s GDPR,

which can be accessed at https://uk-gdpr.org/. 8 The UK’s GDPR is substantially similar to that

of the EU GDPR. Unless otherwise indicated, the Article numbers of the GDPR cited herein are

the same Article numbers for both the EU and UK GDPR.

       39.      An entity’s obligations under the GDPR are determined by reference to whether

the entity is a “controller” of information -- or merely a “processor” -- under the GDPR.

Generally, a data processor is an entity that merely processes (e.g., collects, stores or uses)

personal data on behalf or at the direction of a data controller. GDPR Art. 4(8). A data

controller is an entity that determines the purposes for which the personal data is processed, and

how the data is processed. GDPR Art. 4(7) (an entity that “determines the purposes and means

of processing personal data”). The Debtors in these U.S. bankruptcy cases qualify as “data

controllers” under the GDPR.

       40.      The GDPR protects the disclosure of “personal data,” which includes “any

information relating to an identified or identifiable natural person (‘data subject’).” GDPR Art.

4(1). An “identifiable natural person” under the GDPR “is one who can be identified, directly or


8
    See https://www.gdpreu.org/differences-between-the-uk-and-eu-gdpr-regulations/.


                                                 16
             Case
              Case22-11068-JTD
                   22-11068-JTD Doc
                                 Doc2725-1
                                    1467-1
                                     200 Filed
                                           Filed12/12/22
                                                 05/09/23 Page
                                                 09/27/23  Page1730
                                                                 18ofof3573
                                                                         52




indirectly, in particular by reference to an identifier such as a name, an identification number,

location data” and other attributes. Id.

       41.      Transactions involving the personal data of EU or UK citizens and residents who

are located within the EU or UK, or who are doing business with entities also based in the EU or

UK, are covered by the GDPR. GDPR Art. 3. The GDPR also has extra-territorial reach. In

addition to EU and UK based entities, the GDPR also applies to the processing by non-EU and

non-UK entities “of personal data of [individual] “data subjects who are in the [European]

Union,” or the UK, regardless of citizenship, where the entity’s processing generally concerns its

business or its monitoring of the data subjects’ EU or UK based behavior. GDPR Art. 3(1, 2).

U.S. entities, for example, may be subject to the GDPR if they control or process data concerning

EU or UK citizens and residents. Id.

       42.      In the event that data controllers (e.g., the Debtors) collect personal data from an

individual “data subject” (e.g., a creditor of the Debtors), they must provide certain processing

information to the individual data subject, including contact information for the controller, the

purpose of the data collection, any intended recipients of the data, and whether the personal data

will be transferred outside the EU or UK. GDPR Art. 13(1). Processing personal data under the

GDPR is lawful if the data subject consents, if processing is necessary for contractual

performance, or if processing is “necessary for compliance with a legal obligation to which the

controller is subject,” among others. GDPR Art. 6(1).

       43.      Within the particular territory of a given EU member, an independent public

authority, known under the EU GDPR as a “Supervisory Authority,” and a “Commissioner”

under the UK GDPR, is responsible for monitoring compliance with the GDPR, enforcing the

GDPR’s edicts, and conducting investigations. The GDPR imposes a tiered structure of



                                                 17
             Case
              Case22-11068-JTD
                   22-11068-JTD Doc
                                 Doc2725-1
                                    1467-1
                                     200 Filed
                                           Filed12/12/22
                                                 05/09/23 Page
                                                 09/27/23  Page1831
                                                                 19ofof3573
                                                                         52




corrective actions and administrative fines for violations of the GDPR, which are imposed by the

applicable Supervisory Authority or UK Commissioner. A Supervisory Authority or UK

Commissioner may, for example, issue warnings for likely processing infringements of the

GDPR, issue reprimands for actual infringements, or suspend data flows to recipients in third

countries. GDPR Art. 58(2).

       44.      Also, “depending on the circumstances of each individual case” a Supervisory

Authority or UK Commissioner may impose administrative (i.e., monetary) fines for

infringements of the GDPR. GDPR Art. 83(1). As an exercise of discretion, “[w]hen deciding

whether to impose an administrative fine and deciding on the amount of the administrative fine

in each individual case, due regard” must be given by the Supervisory Authority or UK

Commissioner to “the nature, gravity and duration of the infringement[,] taking into account the

nature[,] scope or purpose of the processing concerned,” among other aggravating or mitigating

factors. GDPR Art. 83(2). A Supervisory Authority may impose an administrative fine of up to

€10.0 million, and the UK Commissioner up to 8.7 million pounds, or two percent of an

offending entity’s global annual revenue for lesser processing infringements, and a fine of up to

€20.0 million, and the UK Commissioner up to 17.5 million pounds, or four percent of global

annual revenue for other GDPR infringements, including the unauthorized transfer of personal

data to third countries (i.e., countries outside the EU or the UK). GDPR Art. 83(4, 5).

       45.      Pursuant to the GDPR, transfers of “personal data which are undergoing

processing or are intended for processing after transfer to a third country” may “take place only

if, subject to the other provisions of [the] Regulation,” (i.e., whether a GDPR-recognized legal

basis applies to the processing of the data as a threshold matter), the data controller complies

with certain “conditions” set forth in Chapter V of the GDPR. GDPR Art. 44. The Debtors’



                                                 18
               Case
                Case22-11068-JTD
                     22-11068-JTD Doc
                                   Doc2725-1
                                      1467-1
                                       200 Filed
                                             Filed12/12/22
                                                   05/09/23 Page
                                                   09/27/23  Page1932
                                                                   20ofof3573
                                                                           52




filings in these U.S. bankruptcy cases of documents containing Personal Information qualify

under the GDPR as transfers of personal data to a third country.

        46.       Generally, under GDPR Chapter 5, data processors such as the Debtors may

transfer personal data to third countries such as the U.S. if they have met one of three conditions:

(1) the EU Commission or a UK Commissioner has made a prior “adequacy decision” vis-à-vis

the recipient third country; (2) the data processor has put in place one of several “appropriate

safeguards;” or (3) if a specific “derogation” (i.e., an exception) set forth in the GDPR applies.

GDPR Arts. 45, 46, 49. In these bankruptcy cases, it appears that solely the third condition – i.e.,

the derogations in the GDPR – apply to the data transfers proposed by the Debtors in the Motion

to Redact. 9

        47.       If a European or UK entity’s transfer of personal data to a third country such as

the U.S. is not covered by either a prior adequacy decision or an appropriate safeguard

recognized under the GDPR, the data transfer may still be made under the GDPR if it is covered


9
    The GDPR contains two antecedent conditions not applicable here. First, under the GDPR, transfers
    of personal data to third countries also may first take place if covered by a prior “adequacy decision”
    of the EU Commission. GDPR, Art. 45(1, 3). Such a decision constitutes a finding by the EU
    Commission that the legal framework in place for the recipient third country provides an “adequate
    level of protection” for the personal data rights of EU individuals. Id. Because the EU Commission
    has made only a partial finding of adequacy with respect to the U.S., EU entities may transfer
    personal data to U.S. entities under GDPR Art. 45(1) only if covered by the Commission-approved
    EU-US Privacy Shield framework. See www.privacyshield.gov. To the extent that the Federal
    government and the Court are recipients of personal data of EU residents, they are neither eligible for
    nor signatories to the Privacy Shield.

    Second, in the absence of an adequacy decision pursuant to GDPR Art. 45(3), a data controller also
    may transfer personal data to a third country only if the controller has provided one of certain
    enumerated “appropriate safeguards.” GDPR Art. 46 (1, 2). Such safeguards generally consist,
    among others, of: instruments between public authorities involved in the transfers; binding inter-
    corporate rules approved by a Supervisory Authority; contracts with a third country recipient
    containing Supervisory Authority- or Commission-approved data protection clauses; a recipient’s
    participation in a Supervisory Authority-approved code of conduct; or a recipient’s certification by a
    Supervisory Authority. GDPR Art. 46.



                                                    19
             Case
              Case22-11068-JTD
                   22-11068-JTD Doc
                                 Doc2725-1
                                    1467-1
                                     200 Filed
                                           Filed12/12/22
                                                 05/09/23 Page
                                                 09/27/23  Page2033
                                                                 21ofof3573
                                                                         52




by one of the exceptions provided in GDPR Article 49 (“Derogations for specific situations”).

Known in the GDPR as “derogations,” the exceptions include: the explicit consent of the

individual data subject (e.g., an employee) (GDPR Art. 49(1)(a)); the transfer is necessary for the

performance of a contract between the individual and the data controller (GDPR Art. 49(1)(b));

or “the transfer is necessary for the establishment, exercise or defence of legal claims” (“Legal

Claim Exception,” GDPR Art. 49(1)(e) (emphasis added)).

                                       IV.     OBJECTION

       48.      The Debtors have not overcome the long-standing presumption of the public’s

right to access court records. It is well settled that honesty and full disclosure are paramount in

bankruptcy. The duty of disclosure is important in the chapter 11 context, where the debtor in

possession serves as a trustee for the bankruptcy estate. In re Scott, 172 F.3d 959, 967 n.6 (7th

Cir. 1999). In these cases, the Debtors have not overcome that presumption.

   A. The Debtors Have Not Established Grounds to Redact Customer
      Names Under Section 107(b) of the Bankruptcy Code

       49.      The Debtors seek to redact the names, addresses and other contact information for

all of their customer-creditors, whether they be individuals, corporations of other legal entities,

from “any paper filed or to be field with the Court or made publicly available in these Chapter 11

Cases,” which includes, but is not limited to, the Debtors “Creditor Matrix, Consolidated Top 50

Creditor List and Schedules and Statements” as well as all affidavits of service, the Claims

Register and proofs of claim. Mot. ¶ 12; Proposed Final Order ¶ ¶ 4, 5. The Debtors argue that

such names effectively constitute a customer list, which is entitled to protection as confidential

commercial information under section 107(b) of the Code and which, if disclosed, could allow

competitors to poach those customers and interfere with the debtors’ ability to sell their assets.

Mot. ¶¶ 12, 13.


                                                 20
             Case
              Case22-11068-JTD
                   22-11068-JTD Doc
                                 Doc2725-1
                                    1467-1
                                     200 Filed
                                           Filed12/12/22
                                                 05/09/23 Page
                                                 09/27/23  Page2134
                                                                 22ofof3573
                                                                         52




       50.      Under section 107(b), “commercial information” has been defined as information

which would cause an “unfair advantage to competitors by providing them information as to the

commercial operations” of the requesting party. In re Orion Pictures Corp., 21 F.3d 24, 27 (2d

Cir. 1994) (internal quotations omitted); accord In re Borders Group, Inc., 462 B.R. 42, 47

(Bankr. S.D.N.Y., 2011).

       51.      “The ‘commercial information’ exception is not intended to offer a safe harbor for

those who crave privacy or secrecy for its own sake.” Motors Liquidation Co., 561 B.R. at 43

(quoting In re Dreier LLP, 485 B.R. 821, 822-23 (Bankr. S.D.N.Y. 2013)). “Evidence–not just

argument–is required to support the extraordinary remedy of sealing.” Id. at 43; accord Dreier,

485 B.R. at 823 (finding that “conclusory statements in [a declaration] are not probative”).

       52.      To meet its burden to show that a request to place documents under seal falls

within the parameters of Section 107(b), a movant “must demonstrate extraordinary

circumstances and compelling need to obtain protection.” Food Mgmt., 359 B.R. at 561

(emphasis added)(citing In re Orion Pictures Corp., 21 F.3d 24, 27 (2d Cir. 1994)). In addition,

“[t]he moving party bears the burden of demonstrating that the information it is seeking to

protect from public viewing is both commercial and confidential.” In re Williams, No. 15-71767,

2017 WL 6278764, at *3 (Bankr. W.D. Va. Dec. 8, 2017) (citing In re Oldco M Corp., 466 B.R.

234, 237 (Bankr. S.D. N.Y. 2012) and In re Northwest Airlines Corp., 363 B.R. 704, 706 (Bankr.

S.D. N.Y. 2007)).

       53.      The Debtors have not demonstrated extraordinary circumstances or compelling

need to seal the names of those customer and other creditors who are individuals, or the names

and addresses of those customer-creditors who are not individuals. Nor do the Debtors cite any

authority holding that the type of information they seek to seal is both confidential and



                                                21
             Case
              Case22-11068-JTD
                   22-11068-JTD Doc
                                 Doc2725-1
                                    1467-1
                                     200 Filed
                                           Filed12/12/22
                                                 05/09/23 Page
                                                 09/27/23  Page2235
                                                                 23ofof3573
                                                                         52




commercial information under the Bankruptcy Code. See, e.g., In re Motors Liquidation

Company, 561 B.R. 36, 44 (Bankr. S.D.N.Y., 2016) (holding that the identities of the owners of

10% or more of the equity interests of a party in an adversary proceeding are not confidential

commercial information and denying motion to seal). The Debtors provide only conclusory

statements regarding the information’s commercial importance, and “statements made by

lawyers in briefs are not evidence.” Id. “To put it clearly, just because information may be

‘confidential’ does not mean it is ‘commercial information’ entitled to the extraordinary

procedure of sealing.” Id.

       54.      The information the Debtors seek to conceal here falls directly into the category

of information that is required to be disclosed when a party avails itself of the protections of the

Bankruptcy Code. See 11 U.S.C. § 521; Fed. R. Bankr. P. 1007; Del. Bankr. L.R. 1007-1(a) and

1007-2(a). The Debtors, who have voluntarily sought relief in this Court, have no basis for

sealing the Creditor Matrix, Schedules, Statements, or the list of the largest unsecured creditors.

Congress was clear that bankruptcy proceedings must be transparent, and transparency requires

pleadings to be filed on the public docket unless narrow and enumerated exceptions apply. Such

exceptions do not apply here.

       55.      The purpose of requiring a debtor to disclose all assets, liabilities and business

dealings is to ensure that creditors have reliable and accurate information which they can rely on

to determine the status of the debtor’s financial affairs and to trace a debtor’s financial

history. In re Haynes, 549 B.R. 677, 687 (Bankr. D. S.C. 2016). The bankruptcy schedules and

statements of affairs are designed to elicit certain information necessary to the proper

administration and adjudication of the case. Id.




                                                  22
               Case
                Case22-11068-JTD
                     22-11068-JTD Doc
                                   Doc2725-1
                                      1467-1
                                       200 Filed
                                             Filed12/12/22
                                                   05/09/23 Page
                                                   09/27/23  Page2336
                                                                   24ofof3573
                                                                           52




         56.      As stated by the court in Celsius, the schedule of liabilities “constitute prima facie

evidence of the validity and amount of the claims of creditors unless they are scheduled as

disputed, contingent, or unliquidated,” under Fed. R. Bankr. P. 3003. Celsius, 644 B.R. at 297.

This transparency is “‘important because creditors can look at the schedule and see whether their

claim has been listed, and whether it is an undisputed claim, in which case, they don't have to file

a proof of claim.’” Id. (quoting the court’s statements at the hearing). The court further noted

that “[e]nabling parties in interest and the public to see the identity of creditors and the amount

of their claims, and then tracking the disposition and treatment of claims during the bankruptcy

case, is important to the fairness and public perception of the bankruptcy process. Only in the

rarest of cases should these ordinary expectations be upset.” Id. 10

         57.      The disclosure of the identity of the Debtors’ customers is also important because

the amounts owed to the Debtors or the amounts the Debtors owed are likely probative to the

Debtors’ ability to successfully restructure. The Debtors have made no showing that disclosure

of the identities of some of its creditors are “reasonably [] expected to cause the entity

commercial injury.” In re Alterra Healthcare Corp., 353 B.R. 66, 75 (Bankr. D.Del., 2006). The

Debtors simply cannot seek bankruptcy protection and then do business behind a shield of

secrecy.

         58.      The Privacy Policy also provides that FTX Trading Ltd. will “disclose any

information we store associated with you to external parties” if required to do so to comply with


10
     The Court in Celsius rejected the debtors’ "anonymization" process, whereby the debtors would send
     individual e-mails to every account user that informed them of the amount at which their claim had
     been scheduled, and a number that would allow them to go to the claims agent’s website to confirm
     the same. Id. at 287. The Court was not persuaded by this proposed solution, in part “because the
     public schedules do not merely serve the interests of individual creditors, but, rather, also serve the
     interests of creditors and the public in general—all parties and the public share an interest in complete
     transparency, with only the rarest of exceptions.” Id. at 297.


                                                      23
               Case
                Case22-11068-JTD
                     22-11068-JTD Doc
                                   Doc2725-1
                                      1467-1
                                       200 Filed
                                             Filed12/12/22
                                                   05/09/23 Page
                                                   09/27/23  Page2437
                                                                   25ofof3573
                                                                           52




any “legal process,” and to “comply with applicable laws.” Privacy Policy at 9, 13. The policy

further states that customers information may be sold or transferred in connection with a

reorganization or bankruptcy. Id. at 9.

         59.      As the Privacy Policy allows customers names and contact information to be

shared with numerous third parties, it is not secret or confidential. Moreover, the Privacy Policy

allows the Debtors to share privacy information if legally required to do so, as they are here,

under the statutory requirements of the Bankruptcy Code.

         60.      The Debtors have neither tried to meet their burden of showing more than

speculative harm, nor have they established that such relief is actually necessary to protect a

party from harm. As to customers who are individuals, it is difficult to imagine how they could

be poached if all that is disclosed is their name, with no contact information.

         61.      Like the Debtors in the present case, the debtors in Celsius sought authority to

redact the names and addresses of all of their customers, whether individuals or entities, arguing,

as the Debtors do here, that such information was confidential commercial information and could

lead to competitors “targeting the debtors customers and undermine[ing] the Debtors’ ability to

reorganize.” Celsius, 644 B.R. at 291. The court rejected this argument, describing the debtors’

“larger problem” to be the same as in the present case, which is that before and after they filed

for bankruptcy, the debtors froze all customer accounts, refusing to permit any withdrawals. The

court noted that such action “has not won many fans among the Debtors’ customers.” Id. 11

         62.      The Celsius court recognized that it may be true, as one of the debtor’s witness

explained, that “it is expensive and time consuming for crypto companies to identify, attach, and


11
     The Celsius court further noted that, as here, the Debtors did not address with evidence whether
     creditors who deposited crypto assets with the Debtors also maintain accounts with the debtors’
     competitors. See id. at 292.


                                                    24
               Case
                Case22-11068-JTD
                     22-11068-JTD Doc
                                   Doc2725-1
                                      1467-1
                                       200 Filed
                                             Filed12/12/22
                                                   05/09/23 Page
                                                   09/27/23  Page2538
                                                                   26ofof3573
                                                                           52




enroll potential customers.” Id. at 292. The court indicated, however, that it did “not believe

that is sufficient evidence to support sealing of the names of all creditors.” Id. As to individual

creditors, the court rejected the idea that names alone, without e-mail and physical addresses

linked to such names, meet the stand for confidential commercial information under section

107(b)(1), because “[n]ames alone are simply not enough to facilitate a competitor’s theft.” Id.

at 293. The court pointed out that by sealing individual customers' home and email addresses to

protect those customers under section 107(c), the debtors would also “gain protection of

whatever commercial value may flow from that information.” Id. at 292. The court emphasized,

however, that it was granting that protection with respect to addresses of individual customers,

not for corporate, LLP or LLC customers. Id. 12

         63.      “The strong public policy of transparency and public disclosure in bankruptcy

cases requires very narrow exceptions and only on strong evidentiary showings.” Id. at 292

(emphasis added). In these cases, as in Celsius, the Debtors' evidentiary showing is insufficient

to justify the wholesale sealing of creditors identities. Id.

     B. The Debtors Have Not Established Grounds to Redact the Names of Customers and
        Creditors Who Are Individuals Under Section 107(c) of the Bankruptcy Code

         64.      The Debtors have made no attempt to fulfill their burden of proof under

Bankruptcy Code § 107(c). As that statute is applied in these cases, for the Court to exercise its

discretion to protect the names of the Debtors’ customers and other creditors who are

individuals, the Debtors must furnish evidence and make a concrete showing that filing only the

names, with no other information, of such individuals, “would create” an “undue risk” of identity




12
     In so doing, the Celsius Court recognized rulings in other cases that reached different results,
     including the ruling of this Court in Cred. See id. at 292.

                                                      25
                Case
                 Case22-11068-JTD
                      22-11068-JTD Doc
                                    Doc2725-1
                                       1467-1
                                        200 Filed
                                              Filed12/12/22
                                                    05/09/23 Page
                                                    09/27/23  Page2639
                                                                    27ofof3573
                                                                            52




theft or other unlawful injury to those employees or their property. 11 U.S.C. § 107(c) (emphasis

added).


          65.      This issue also was addressed in Celsius. There, the court determined that

“[i]dentifying the individual account holders by name, without physical and email addresses, is

insufficient information to expose customers to risks of identity theft or personal danger.” 644

B.R. at 293. The court recognized that sealing such information from public disclosure “risks

transforming the open and transparent bankruptcy process into something very different, which

the Court is loath to do without a strong showing of real and not speculative risks.” Id.

          66.      The Debtors in these cases have not set forth any facts demonstrating that

disclosure of only the names of the Debtors’ customers and creditors who are individuals,

without any other contact information, would create any risk, let along any undue risk, of identity

theft or other unlawful injury. The Debtors provide, as an example, one incident that took place

in another bankruptcy case in this District in 2017, but in that instance an address with provided

along with the name. Mot. ¶ 18 (discussing In re Charming Charlie Holdings, Inc., No. 19-

11534 (CSS)). Similarly, the ruling in In re Forever 21, Inc., cited by the Debtors, referenced

persons who “seek to have their addresses withheld” to guard against identity theft. Mot. ¶ 17

(emphasis added).

          67.      Moreover, the Privacy Policy, quoted in paragraphs 17 and 18 above, supports

the argument that the information sought to be redacted does not meet any exception to section

107(a) of the Code. The Privacy Policy specifically states that FTX Trading Ltd. may share

customer’s “personal information to business partners with whom we jointly offer products or

services” and allow FTX Trading Ltd.’s “advertising partners to set Technologies and other

tracking tools to collect information” regarding customers activities, their IP address, mobile


                                                   26
              Case
               Case22-11068-JTD
                    22-11068-JTD Doc
                                  Doc2725-1
                                     1467-1
                                      200 Filed
                                            Filed12/12/22
                                                  05/09/23 Page
                                                  09/27/23  Page2740
                                                                  28ofof3573
                                                                          52




identifiers, and other information. Objection Ex. A at 8-9. The Privacy Policy also indicates that

FTX Trading Ltd. discloses “personal information” it collects about its customers to FTX

Trading Ltd.’s affiliates, as well as to service providers such as IT, banks, and customer service

providers. See id. Although the privacy policy provides a way for customers to prevent the

sharing of personal information with advertising partners, it does not do the same for sharing

information with FTX Trading Ltd.’s “business partners,” affiliates, or service providers. See id.

at 10-11.

        68.      Consistent with the depth of the public right to access of judicial documents,

Bankruptcy Code § 107(c) by its express terms requires both proof of undue risk – i.e., not

merely a slightly possible, theoretical risk – as well as a certainty of such undue risk. 11 U.S.C.

§ 107(c). The modifier “undue” must be proven by a movant under § 107(c)(1), and not read out

of the statute. In re Mazzeo, 131 F.3d 295, 302 (2d Cir., 1997). In the Motion, the Debtors

merely hypothesize, without the evidence required, that there is a possibility of just ordinary risk.

That simply does not suffice to fulfill the Debtors’ heavy burden of proof under § 107(c).

Cendant, 260 F.3d at 194 (“Broad allegations of harm, bereft of specific examples or articulated

reasoning, are insufficient”); see also Bernstein v. Bernstein Litowitz Berger & Grossman LLP,

814 F.3d 132, 144-45 (2d Cir. 2016) (“‘Broad and general findings’ and ‘conclusory assertion[s]’

are insufficient to justify deprivation of public access to the record, . . . ‘specific, on-the-record

findings’ are required.”) (quoting United States v. Erie Cty., 763 F.3d 235, 243 (2d Cir.

2014)(internal quotations omitted).

        69.      Without any additional proof establishing an “undue” risk of identity theft or

other unlawful injury to the Debtors’ customers and creditors who are individuals by the mere

disclosure of their names, the Motion must be denied under § 107(c)(1).



                                                   27
             Case
              Case22-11068-JTD
                   22-11068-JTD Doc
                                 Doc2725-1
                                    1467-1
                                     200 Filed
                                           Filed12/12/22
                                                 05/09/23 Page
                                                 09/27/23  Page2841
                                                                 29ofof3573
                                                                         52




   C. Names of Individuals Covered by the GDPR Should Not Be Redacted

       70.      The Debtors request the redaction of names and residential addresses of creditors

who are citizens of a member nation of the EU, or are UK citizens, covered by either the EU

GDPR or the UK GDPR. That aspect of the Motion should be denied because: (i) the scope of

the Debtors’ request is excessive; (ii) the GDPR does not supersede U.S. bankruptcy law for

purposes of the Motion; and (iii) the GDPR makes an exception for the filing of such information

in these bankruptcy cases.

                1.     The Bankruptcy Code, Not the GDPR, Controls Here

       71.      The Debtors, which consented to the jurisdiction of this Court by filing voluntary

petitions for bankruptcy relief, have failed to set forth any authority for their implied proposition

that the GDPR supersedes U.S. interests, as implemented through the disclosure provisions of the

Bankruptcy Code, the Bankruptcy Rules, and related law. To the contrary, in these chapter 11

cases, the Court simply may not be bound by the GDPR.

       72.      In this regard, in the analogous discovery context, the Supreme Court has weighed

in very clearly. With respect to a French “blocking statute” that authorized criminal penalties for

the production of economic, commercial and financial documents in foreign judicial

proceedings, including U.S. proceedings, the Court unequivocally ruled: “It is well settled that

such [foreign blocking] statutes do not deprive an American court of the power to order a party

subject to its jurisdiction to produce evidence even though the act of production may violate that

statute.” Societe Nationale Industrielle Aerospatiale v. U.S. Dt. Ct. for the Southern Dt. of Iowa,

482 U.S. 522, 544 n.29 (1987); see also Laydon v. Mizuho Bank, Ltd., 183 F. Supp. 3d. 409, 422-

25 (S.D.N.Y. 2016) (denying European banks’ objections to discovery based on 1995 EU

Directive 95/46/EC (part of the UK Data Protection Act), because as a matter of comity, the



                                                 28
             Case
              Case22-11068-JTD
                   22-11068-JTD Doc
                                 Doc2725-1
                                    1467-1
                                     200 Filed
                                           Filed12/12/22
                                                 05/09/23 Page
                                                 09/27/23  Page2942
                                                                 30ofof3573
                                                                         52




United States’ national interests outweigh those of the UK); Royal Park Investments SA/NV v.

HSBC Bank USA, N.A., Case No. 14-CV-8175 (LGS), 2018 WL 745994 (S.D.N.Y. Feb. 6, 2018)

(holding that plaintiff improperly withheld custodial information and substantially redacted

individual names and email addresses in deference to Belgian Data Privacy Act, which restricts

transfer of personal data to countries outside the EU).

       73.      The Celsius court addressed this issue as well. There, as here, the debtors sought

authorization to redact the names, email addresses, and home addresses of any citizens of the UK

or European Economic Area member countries, arguing that the disclosure of those names and

addresses would risk violating the UK GDPR and the EU GDPR, which would expose the

Debtors to potential civil liability and significant financial penalties. Celsius, 644 B.R. at 295.

The court noted that there, as here, the debtors provided “no legal authority explicitly dictating

why the UK GDPR and the EU GDPR should apply to the bankruptcy cases of the Debtors filed

in the United States, or specifically, why the foreign laws would take precedence in a situation

where United States law requires the disclosure of the information.” Id. The court examined

whether disclosure of the names and addresses of such individuals could be protected under

107(c), but indicated that it remained “unconvinced, beyond speculation, that the disclosure of

names alone (without email or physical addresses) presents an imminent risk of harm.” Id. The

court also indicated that it would “not treat the UK and EU citizens differently than the United

States citizens implicated in this case filed in New York.” Id. The court ruled that the Debtors

could redact home addresses and email addresses of any individual, including those located in

the UK or the EU member countries, but denied the proposed redaction of the names of the

individuals. Id. The U.S. Trustee believes the same result is warranted here.




                                                  29
             Case
              Case22-11068-JTD
                   22-11068-JTD Doc
                                 Doc2725-1
                                    1467-1
                                     200 Filed
                                           Filed12/12/22
                                                 05/09/23 Page
                                                 09/27/23  Page3043
                                                                 31ofof3573
                                                                         52




       74.      The Debtors should not be allowed to eviscerate long-standing disclosure

requirements grafted into the Bankruptcy Rules and the Local Rules of this Court and the long-

standing policies underlying those authorities. While the UK and the EU have a legitimate

interest in enforcing their own law, this Court’s interest in enforcing the Bankruptcy Code in

these bankruptcy cases is superior. The Debtors have put forth no proof whatsoever, let alone

the plausible evidence required, that their applicable Supervisory Authority or UK

Commissioner, would unduly pursue enforcement action and issue penalties against them for

obeying both U.S. law and a specific disclosure order of this Court.

       75.      In addition, it appears that the Debtors do not even know which of their customers

and creditors are citizens of the UK or an EU member country, because in many instances the

Debtors do not have street addresses for such customers and creditors. Even for those customers

and creditors for whom the Debtors do have addresses, an address alone does not establish

citizenship.

                2.     Personal Information May Be Filed
                       Under the GDPR Legal Claim Exception

       76.      In addition, the Debtors have failed to discuss the GDPR’s Legal Claim

Exception, which facially appears to permit the disclosure of the names (as well as residential

addresses) of EU and UK creditors in these bankruptcy cases. Pursuant to the Legal Claim

Exception, the Debtors’ transfer of the names of EU or UK creditors to a third country such as

the U.S., by filing the same in these bankruptcy cases, is allowed to the extent that “the transfer

is necessary for the establishment, exercise or defence of legal claims.” GDPR, Art. 49(1)(e).

Recital 111 to the GDPR, which interprets the Legal Claim Exception, expressly provides that

under the exception, a transfer of data, such as the names of EU or UK creditors at issue here,

may take place where it is “occasional and necessary in relation to a contract or a legal claim,

                                                 30
                Case
                 Case22-11068-JTD
                      22-11068-JTD Doc
                                    Doc2725-1
                                       1467-1
                                        200 Filed
                                              Filed12/12/22
                                                    05/09/23 Page
                                                    09/27/23  Page3144
                                                                    32ofof3573
                                                                            52




regardless of whether in a judicial procedure or whether in an administrative or any out-of-court

procedure, including procedures before regulatory bodies.” GDPR Art. 49(1)(e), Recital 111. 13

          77.      According to official guidelines promulgated by the European Data Protection

Board, the Legal Claim Exception broadly “covers a range of activities.” Guidelines 2/2018 on

Derogations of Article 49 Under Regulation 2016/679 (May 25, 2018) (“EDPB Guidelines”). 14

The EDPB Guidelines expressly provide that the Legal Claim Exception includes “actions by the

data exporter to institute procedures in a third country[,] for example commencing litigation or

seeking approval of a merger.” EDPB Guidelines § 2.5. According to the European Data

Protection Board, such third-country procedures, e.g. – legal proceedings in a third country –

“must have a basis in law, including a formal, legal defined process,” and “a close link is

necessary between a data transfer and a specific procedure regarding the situation in question.”

Id.

          78.      Here, it cannot be disputed that the requirements imposed by the U.S. Bankruptcy

Rules and Local Rules of this Court constitute and furnish a well-recognized, “formal, legal

defined process” within the meaning of EDPB Guidelines § 2.5. It follows that because full

disclosure of the names of all creditors is required under Bankruptcy Rule 1007(a)(1) and Local

Rule 1007-2(a), the Debtors’ transfers of personal data to a third country under the GDPR, i.e. –

their filing of the names of EU or UK creditors in these U.S. bankruptcy cases – is


13
      A copy of Recital 111 may be found at https://gdpr.eu/Recital-111-Exceptions-for-certain-cases-of-
      international-transfers. The Recitals of the EU GDPR also apply to the UK GDPR. See
      https://ukgdpr.fieldfisher.com/recitals/.
14
      A copy of the EDPB Guidelines may be found at https://edpb.europa.eu/our-work-tools/our-
      documents/publication-type/guidelines_en. The EDPB has not applied to UK since January 1, 2021.
      https://edpb.europa.eu/sites/default/files/files/file1/edpb_statement_20201215_brexit_updated202101
      13_en.pdf. Nevertheless, the EDPB Guidelines may still be instructive in interpreting the UK GDPR
      with respect to the provisions discussed in this Objection, as such provisions in the UK GDPR are
      nearly identical to those of the EU GDPR.

                                                    31
               Case
                Case22-11068-JTD
                     22-11068-JTD Doc
                                   Doc2725-1
                                      1467-1
                                       200 Filed
                                             Filed12/12/22
                                                   05/09/23 Page
                                                   09/27/23  Page3245
                                                                   33ofof3573
                                                                           52




unquestionably “necessary for the establishment [and] exercise” of the Debtors’ “legal claims” in

these U.S. bankruptcy cases. GDPR Art. 49(1)(e). By virtue of having voluntarily requested

relief under chapter 11 of the Bankruptcy Code, the Debtors subjected themselves to the non-

discretionary disclosure requirements of Bankruptcy Rule 1007(a)(1) and Local Rule 1007-2(a).

Thus, the Debtors’ filing of unredacted names of EU and UK creditors, i.e. – their transfers of

personal data to a third country under the GDPR – fulfills the requisite “necessary” standard of

the Legal Claim Exception of GDPR, Art. 49(1)(e). For these same reasons, the filing of the

names of EU and UK creditors by the Debtors is “necessary” within the meaning of Recital 111

to GDPR, Art. 49(1)(e), and such filing fulfills the “close link” requirement of EDPB Guidelines

§ 2.5.

         79.      In addition, the Debtors’ disclosure of the names of EU and UK creditors in these

cases also squarely satisfies the requirement of the applicable GDPR Recital. GDPR Art.

49(1)(e), Recital 111 (data transfers must be “occasional”). The Debtors are required to include

the names of EU and UK creditors in the Creditor Matrix, the Consolidated Top 50 Creditors

List and also in the Debtors’ Schedules and Statements of Financial Affairs. 11 U.S.C. §

521(a)(1)(B), Bankruptcy Rules 1007(a)(1) and 1007-1(b), and Official Form 201. Therefore, in

terms of GDPR Recital 111, at the underlying “data transfers” of names of EU and UK creditors

by the Debtors will occur with only “occasional” frequency within the meaning of the Recital.

GDPR Art. 49(1)(e), Recital 111.

         80.      Though the Debtors bear the burden of proof here, the Motion fails to bear any

indication that they have pursued any threshold assessments of their risk of penalization under

the GDPR. There is, for example, no proof that the Debtors simply sought the consent of the EU

and UK creditors to include their names in the Creditor Matrix, the Consolidated Top 50



                                                  32
             Case
              Case22-11068-JTD
                   22-11068-JTD Doc
                                 Doc2725-1
                                    1467-1
                                     200 Filed
                                           Filed12/12/22
                                                 05/09/23 Page
                                                 09/27/23  Page3346
                                                                 34ofof3573
                                                                         52




Creditors List, and the Debtors’ Schedules and Statements, rather than asking for extraordinary

judicial relief. GDPR Art. 49(1)(A). The Motion also fails to demonstrate that the Debtors have

made an inquiry with their applicable EU GDPR Supervisory Authority or UK Commissioner

about the lawfulness of transferring the names of the EU and UK creditors to the U.S. by filing

that information in these bankruptcy cases pursuant to the requirements of the Bankruptcy Rules

and the Local Rules of this Court, or seeking a permit from their Supervisory Authority or UK

Commissioner to do so. Particularly in light of the tenets of the Legal Claim Exception, of the

discretion expressly given by the GDPR to the Debtors’ Supervisory Authority or UK

Commissioner, and of the strength of the American laws militating in favor of full disclosure in

these bankruptcy cases, these types of diligence by the Debtors are crucial at this relatively early

stage of the implementation of the GDPR, and critical to the Debtors’ faithful fulfillment of their

fiduciary duties here.

       81.      For the reasons set forth above, the relief requested by the Motion as it regards

EU and UK citizens who are individual customers-creditors of the Debtors should be denied,

except so as to allow the redaction of their residential and email addresses.


   D. The Debtors Must File Under Seal Unredacted Versions of
      All Documents They File in a Redacted Format

       82.      In the event the Court grants any portion of the Debtors’ Motion seeking to redact

customer and creditor information, it appears that the Debtors are seeking to bypass the

requirement that they file under seal an unredacted version of each redacted document filed.

Instead, the Debtors propose to provide such unredacted documents to the Court only “upon

request.” Under the Local Rules of this Court, it is not sufficient to simply file a redacted

version of a document and nothing else, especially with respect to documents that are required by

the Bankruptcy Code and the Bankruptcy Rules to be filed, such as the Creditor Matrix, and the

                                                 33
             Case
              Case22-11068-JTD
                   22-11068-JTD Doc
                                 Doc2725-1
                                    1467-1
                                     200 Filed
                                           Filed12/12/22
                                                 05/09/23 Page
                                                 09/27/23  Page3447
                                                                 35ofof3573
                                                                         52




Schedules and Statements. See Del. Bankr. L.R. 9018-1(d).

       83.      At the request of the U.S. Trustee, the Debtors did modify the proposed the

Interim Order on the Motion to require that an unredacted version of the Creditor Matrix be filed

under seal with the Court. However, the Debtors did not agree to the U.S. Trustee’s request for

the interim order to provide that all redacted documents also be filed under seal in an unredacted

format. To the extent this Court grants any portion of the Motion as it concerns redaction, the

final order should be modified to require that any party who files a document with information

that has been authorized by the Court to be redacted must also file an unredacted version of the

same with the Court under seal.

       84.      The U.S. Trustee leaves the Debtors to their burden of proof and reserves any and

all rights, remedies and obligations to, inter alia, complement, supplement, augment, alter and/or

modify this Objection, file an appropriate Motion and/or conduct any and all discovery as may

be deemed necessary or as may be required and to assert such other grounds as may become

apparent upon further factual discovery.



       WHEREFORE, the U.S. Trustee respectfully requests that the Court deny the final relief

requested by the Motion, as it concerns redaction of information, except to allow the redaction

from public filings of the addresses and email addresses – but not names – of individuals who are

customers or other creditors of the Debtors, and grant any such other and further relief that the

Court deems just and proper.




                                                34
         Case
          Case22-11068-JTD
               22-11068-JTD Doc
                             Doc2725-1
                                1467-1
                                 200 Filed
                                       Filed12/12/22
                                             05/09/23 Page
                                             09/27/23  Page3548
                                                             36ofof3573
                                                                     52




                                    Respectfully Submitted,

                                    ANDREW R. VARA,
                                    ACTING UNITED STATES TRUSTEE
                                    REGIONS 3 AND 9


Dated: December 12, 2022
                                    By: /s/ Juliet Sarkessian
                                    Juliet Sarkessian, Esq.
                                    Trial Attorney
                                    United States Department of Justice
                                    Office of the United States Trustee
                                    J. Caleb Boggs Federal Building
                                    844 N. King Street, Room 2207, Lockbox 35
                                    Wilmington, DE 19801
                                    (302) 573-6491
                                    Juliet.M.Sarkessian@usdoj.gov




                                      35
Case
 Case22-11068-JTD
      22-11068-JTD Doc
                    Doc2725-1
                       1467-1
                        200-1   Filed 12/12/22
                                      05/09/23
                                      09/27/23   Page 1
                                                      37ofof16
                                                      49     52
                                                             73




            EXHIBIT A
11/23/22, 1:56 PM          Case
                            Case22-11068-JTD
                                 22-11068-JTD Doc
                                               Doc2725-1
                                                  1467-1
                                                   200-1
                                                      PrivacyFiled
                                                              Policy –12/12/22
                                                                      05/09/23
                                                                      09/27/23
                                                                       FTX Exchange Page 2
                                                                                         38ofof16
                                                                                         50     52
                                                                                                73


                                                                                                     Sign in



   FTX Exchange       › Getting Started with FTX › Legal
                Search Help Center


   Privacy Policy
               FTX Crypto Derivatives Exchange
               Updated 3 months ago



   FTX Privacy Policy
   January 27, 2022
   FTX Trading Ltd. d/b/a FTX (“FTX,” “we,” “us” or “our”) is a cryptocurrency trading exchange
   accessible via our site located at www.ftx.com and our mobile application FTX Pro. Our
   Privacy Policy (“Privacy Policy”) is designed to help you understand how we collect, use
   and share your personal information and to assist you in exercising the privacy rights
   available to you.
   SCOPE
   This Privacy Policy applies to personal information processed by us in our business,
   including on our websites, mobile applications, and other online or offline offerings
   (collectively, the “Services”). This Policy applies to our operating divisions, subsidiaries,
   affiliates, and branches.                                                                  

   1......... PERSONAL INFORMATION WE COLLECT
   2 HOW WE USE YOUR INFORMATION
https://help.ftx.com/hc/en-us/articles/360031035671-Privacy-Policy                                         1/15
   2......... HOW WE USE YOUR INFORMATION
11/23/22, 1:56 PM          Case
                            Case22-11068-JTD
                                 22-11068-JTD Doc
                                               Doc2725-1
                                                  1467-1
                                                   200-1
                                                      PrivacyFiled
                                                              Policy –12/12/22
                                                                      05/09/23
                                                                      09/27/23
                                                                       FTX Exchange Page 3
                                                                                         39ofof16
                                                                                         51     52
                                                                                                73


   3......... DISCLOSING YOUR INFORMATION TO THIRD PARTIES
   4......... YOUR PRIVACY CHOICES AND RIGHTS
   5......... DATA RETENTION
   6......... SECURITY OF YOUR INFORMATION
   7......... INTERNATIONAL DATA TRANSFERS
   8......... CHILDREN’S INFORMATION
   9......... SUPERVISORY AUTHORITY
   10....... CHANGES TO OUR PRIVACY POLICY
   11 .... CONTACT US


   1. PERSONAL INFORMATION WE COLLECT
   The categories of personal information we collect depend on whether you are a customer,
   user, applicant or visitor, and the requirements of applicable law.
   Information You Provide to Us
        Account Creation. To create an account with us and use our Services, we may collect
        the following information from you:
             Identification information: First and last name, date of birth, gender, phone
             number, email, government identification number (including tax identification,
             driver’s license number and passport number) and other information necessary to
             verify your identity to comply with our regulatory obligations under financial or
             anti-money laundering laws;
             Institutional information: If you are an institutional customer, we may collect your
             institution’s legal name, Employer Identification number (or comparable number
             issued by a government), proof of legal formation (e.g. Articles of Incorporation),
                                                                                              
             and personal identification information for all material beneficial owners;
             Financial information: Bank account information, routing number, transaction
             history, trading data and/or tax identification;
https://help.ftx.com/hc/en-us/articles/360031035671-Privacy-Policy                                   2/15
11/23/22, 1:56 PM          Case
                            Case22-11068-JTD
                                 22-11068-JTD Doc
                                               Doc2725-1
                                                  1467-1
                                                   200-1
                                                      PrivacyFiled
                                                              Policy –12/12/22
                                                                      05/09/23
                                                                      09/27/23
                                                                       FTX Exchange Page 4
                                                                                         40ofof16
                                                                                         52     52
                                                                                                73

                 Transaction information: Information about the transactions you make using our
                 Services, such as the name of the recipient and the trading amount;
             Employment information: Your job title, office location or source of income; and
             Correspondence: Information you provide to our support teams.
   Your Communications with Us. We collect personal information from you such as email
   address, phone number, or mailing address when you request information about our
   Services, request customer or technical support, apply for a job or otherwise communicate
   with us.
   Surveys. We may contact you to participate in surveys. If you decide to participate, you
   may be asked to provide certain information which may include personal information.
   Social Media Content. We may offer forums, blogs, or social media pages. Any content
   you provide on these channels will be considered “public” and is not subject to privacy
   protections.
   Registration for Sweepstakes or Contests. We may run sweepstakes and contests.
   Contact information you provide may be used to reach you about the sweepstakes or
   contest and for other promotional, marketing and business purposes, if permitted by law.
   In some jurisdictions, we are required to publicly share information of winners.
   Information Collected Automatically or From Others
   Automatic Data Collection. We may collect certain information automatically when you use
   the Services. This information may include your Internet protocol (IP) address, user
   settings, MAC address, cookie identifiers, mobile carrier, mobile advertising and other
   unique identifiers, details about your browser, operating system or device, location
   information, Internet service provider, pages that you visit before, during and after using
   the Services, information about the links you click, and other information about how you
   use the Services. Information we collect may be associated with accounts and other
   devices.
   In addition, we may automatically collect data regarding your use of our Services, such as
   the types of content you interact with and the frequency and duration of your activities.
   We may combine your information with information that other people provide when they
   use our Services, including information about you when they tag you.                     
   Cookies, Pixel Tags/Web Beacons, Analytics Information, and Interest-Based Advertising
   technologies. We, as well as third parties that provide content, advertising, or other
   functionality on the Services, may use cookies, pixel tags, local storage, and other
https://help.ftx.com/hc/en-us/articles/360031035671-Privacy-Policy                                   3/15
11/23/22, 1:56 PM          Case
                            Case22-11068-JTD
                                 22-11068-JTD Doc
                                               Doc2725-1
                                                  1467-1
                                                   200-1
                                                      PrivacyFiled
                                                              Policy –12/12/22
                                                                      05/09/23
                                                                      09/27/23
                                                                       FTX Exchange Page 5
                                                                                         41ofof16
                                                                                         53     52
                                                                                                73
   technologies (“Technologies”) to automatically collect information through the Services.
   Technologies are essentially small data files placed on your computer, tablet, mobile phone,

   or other devices that allow us and our partners to record certain pieces of information
   whenever you visit or interact with our Services.
        Cookies. Cookies are small text files placed in visitors’ computer browsers to store
        their preferences. Most browsers allow you to block and delete cookies. However, if
        you do that, the Services may not work properly.
        Pixel Tags/Web Beacons. A pixel tag (also known as a web beacon) is a piece of code
        embedded in the Services that collects information about users’ engagement on that
        web page. The use of a pixel allows us to record, for example, that a user has visited a
        particular web page or clicked on a particular advertisement.
   Analytics and Financial Data. We use third-party tools to monitor and analyze the use of
   our Services, and to automate certain processes related to the development and operation
   of our Services:
        Google Analytics and Others. We may use Google Analytics and other service
        providers to collect information regarding visitor behavior and visitor demographics on
        our Services. For more information about Google Analytics, please visit
        http://www.google.com/policies/privacy/partners/. For more information about Google’s
        privacy practices, please visit https://policies.google.com/privacy?hl=en. You can opt
        out of Google’s collection and processing of data generated by your use of the
        Services by going to http://tools.google.com/dlpage/gaoptout.
        Plaid. We may use Plaid Technologies, Inc. (“Plaid”), as a vendor to collect information
        about you, and you acknowledge and agree that the terms and conditions of Plaid’s
        privacy policy (found here: https://plaid.com/legal/#privacy-policy) will govern Plaid’s
        use of such information, and that you expressly agree to the terms and conditions of
        Plaid’s privacy policy. You hereby expressly grant Plaid the right, power, and authority
        to access and transmit your information as reasonably necessary for Plaid to provide
        its services to you in connection with your use of the Platform.
        FullStory: We use FullStory for recording your interactions with our Services which
        helps us deliver a better user experience. For more information on the privacy
        practices of FullStory, please visit https://www.fullstory.com/legal/privacy/.      
        VWO: We may use VWO, offered by Wingify Software Pvt. Ltd. (“Wingify”), to run A/B
        tests on our Services and deliver a better user experience. For more information on the
        privacy practices of Wingify, please visit https://vwo.com/privacy-policy/.
https://help.ftx.com/hc/en-us/articles/360031035671-Privacy-Policy                                   4/15
11/23/22, 1:56 PM          Case
                            Case22-11068-JTD
                                 22-11068-JTD Doc
                                               Doc2725-1
                                                  1467-1
                                                   200-1
                                                      PrivacyFiled
                                                              Policy –12/12/22
                                                                      05/09/23
                                                                      09/27/23
                                                                       FTX Exchange Page 6
                                                                                         42ofof16
                                                                                         54     52
                                                                                                73
        Segment: We may use Segment, offered by Segment.io, Inc. (“Segment”) to collect
        information about your use of our Services. For more information on the privacy
        practices of Segment, please visit https://segment.com/legal/privacy/.
   Information from Other Sources. We may obtain information about you from other sources,
   including through third party services and organizations to supplement information
   provided by you. For example, if you access our Services through a third-party application,
   such as an app store, a third-party login service, or a social networking site, we may collect
   information about you from that third-party application that you have made public via your
   privacy settings. Information we collect through these services may include your name,
   your user identification number, your user name, location, gender, birth date, email, profile
   picture, and your contacts stored in that service. This supplemental information allows us
   to verify information that you have provided to us and to enhance our ability to provide you
   with information about our business, products, and Services.
   2. HOW WE USE YOUR INFORMATION
   We use your information for a variety of business purposes, including to:
   Fulfill our contract with you and provide you with our Services, such as:
        Managing your information and accounts;
        Providing access to certain areas, functionalities, and features of our Services;
        Communicating with you about your account, activities on our Services and policy
        changes;
        Undertaking activities to verify or maintain the quality or safety of a service or device;
        Processing your financial information and other payment methods for products or
        Services purchased;
        Providing promotional, advertising, analytics and marketing services;
        Processing applications and transactions; and
        Allowing you to register for events.
   Analyze and improve our Services pursuant to our legitimate interest, such as:
        Detecting security incidents, protecting against malicious, deceptive, fraudulent or
        illegal activity, and prosecuting those responsible for that activity;
        Measuring interest and engagement in our Services and short-term, transient use,
        such as contextual customization of ads;
https://help.ftx.com/hc/en-us/articles/360031035671-Privacy-Policy                                   5/15
11/23/22, 1:56 PM          Case
                            Case22-11068-JTD
                                 22-11068-JTD Doc
                                               Doc2725-1
                                                  1467-1
                                                   200-1
                                                      PrivacyFiled
                                                              Policy –12/12/22
                                                                      05/09/23
                                                                      09/27/23
                                                                       FTX Exchange Page 7
                                                                                         43ofof16
                                                                                         55     52
                                                                                                73

          Undertaking research for technological development and demonstration;

        Researching and developing products, services, marketing or security procedures to
        improve their performance, resilience, reliability or efficiency;
        Improving, upgrading or enhancing our Services or those of our Providers;
        Developing new products and Services;
        Ensuring internal quality control;
        Verifying your identity and preventing fraud;
        Debugging to identify and repair errors that impair existing intended functionality;
        Enforcing our terms and policies; and
        Complying with our legal obligations, protecting your vital interest, or as may be
        required for the public good.
   Provide you with additional content and Services, such as:
        Furnishing you with customized materials about offers, products, and Services that
        may be of interest, including new content or Services;
        Auditing relating to interactions, transactions and other compliance activities; and
        Other purposes you consent to, are notified of, or are disclosed when you provide
        personal information.
   Automated profiling. We may use technologies considered automated decision making or
   profiling. We will not make automated decisions about you that would significantly affect
   you, unless such a decision is necessary as part of a contract we have with you, we have
   your consent, or we are permitted by law to use such technology. You may escalate any
   concerns you have by contacting us below.
   Use De-identified and Aggregated Information. We may use personal information and
   other data about you to create de-identified and aggregated information, such as de-
   identified demographic information, de-identified location information, information about
   the computer or device from which you access our Services, or other analyses we create.  
   Share Content with Friends or Colleagues. Our Services may offer various tools and
   functionalities. For example, we may allow you to provide information about your friends
   through our referral services. Our referral services may allow you to forward or share
https://help.ftx.com/hc/en-us/articles/360031035671-Privacy-Policy                                   6/15
11/23/22, 1:56 PM          Case
                            Case22-11068-JTD
                                 22-11068-JTD Doc
                                               Doc2725-1
                                                  1467-1
                                                   200-1
                                                      PrivacyFiled
                                                              Policy –12/12/22
                                                                      05/09/23
                                                                      09/27/23
                                                                       FTX Exchange Page 8
                                                                                         44ofof16
                                                                                         56     52
                                                                                                73
   certain content with a friend or colleague, such as an email inviting your friend to use our
   Services.

   How We Use Automatic Collection Technologies. We, as well as third parties that provide
   content, advertising, or other functionality on the Services, may use cookies, pixel tags,
   local storage, and other technologies to automatically collect information through the
   Services. Our uses of these Technologies fall into the following general categories:
        Operationally Necessary. This includes Technologies that allow you access to our
        Services, applications, and tools that are required to identify irregular site behavior,
        prevent fraudulent activity and improve security or that allow you to make use of our
        functionality;
        Performance Related. We may use Technologies to assess the performance of our
        Services, including as part of our analytic practices to help us understand how our
        visitors use the Services (see Analytics and Financial Data above). For example, we
        may track your activity on the Services, including recordings of your interactions with
        the Services;
        Functionality Related. We may use Technologies that allow us to offer you enhanced
        functionality when accessing or using our Services. This may include identifying you
        when you sign into our Services or keeping track of your specified preferences,
        interests, or past items viewed;
        Advertising or Targeting Related. We may use first party or third-party Technologies
        to deliver content, including ads relevant to your interests, on our Services or on third
        party sites.
   Cross-Device Tracking. Your browsing activity may be tracked across different websites
   and different devices or apps. For example, we may attempt to match your browsing
   activity on your mobile device with your browsing activity on your laptop. To do this our
   technology partners may share data, such as your browsing patterns, geo-location and
   device identifiers, and will match the information of the browser and devices that appear to
   be used by the same person.
   Notice Regarding Third Party Websites, Social Media Platforms and Software
   Development Kits. The Services may contain links to other websites, and other websites
   may reference or link to our website or other Services. These other websites are not 
   controlled by us. We encourage our users to read the privacy policies of each website and
   application with which they interact. We do not endorse, screen or approve and are not
   responsible for the privacy practices or content of such other websites or applications.
   Visiting these other websites or applications is at your own risk.
https://help.ftx.com/hc/en-us/articles/360031035671-Privacy-Policy                                   7/15
11/23/22, 1:56 PM          Case
                            Case22-11068-JTD
                                 22-11068-JTD Doc
                                               Doc2725-1
                                                  1467-1
                                                   200-1
                                                      PrivacyFiled
                                                              Policy –12/12/22
                                                                      05/09/23
                                                                      09/27/23
                                                                       FTX Exchange Page 9
                                                                                         45ofof16
                                                                                         57     52
                                                                                                73

   Our Services may include publicly accessible blogs, forums, social media pages, and
   private messaging features. By using such Services, you assume the risk that the personal
   information provided by you may be viewed and used by third parties for any number of
   purposes. In addition, social media buttons such as Facebook, Linked In, Google, etc. (that
   might include widgets such as the “share this” button or other interactive mini-programs)
   may be on our site. These features may collect your IP address, which page you are
   visiting on our site, and may set a cookie to enable the feature to function properly. These
   social media features are either hosted by a third party or hosted directly on our site. Your
   interactions with these features apart from your visit to our site are governed by the
   privacy policy of the company providing it.
   We may use third party APIs and software development kits (“SDKs”) as part of the
   functionality of our Services. APIs and SDKs may allow third parties including analytics and
   advertising partners to collect your personal information for various purposes including to
   provide analytics services and content that is more relevant to you. For instance, we use
   the SardineAI SDK for fraud protection purposes. The SardineAI SDK collects your mobile
   battery usage, mobile Device Identifier, device storage information, MAC Address, and SIM
   information and collects enough information to determine if you are trying to hide your
   current location by using a VPN, VPN apps with location spoofing, or other related tools.
   For more information about our use of APIs and SDKs, please contact us as set forth below.
   3. DISCLOSING YOUR INFORMATION TO THIRD PARTIES
   We may share your personal information with the following categories of third parties:
   Service Providers. We may share any personal information we collect about you with our
   third- party service providers. The categories of service providers (processors) to whom
   we entrust personal information include: IT and related services; banks and trust
   companies; information and services; payment processors; customer service providers; and
   vendors to support the provision of the Services.
   For the provision of fiat payment functions available in FTX, we may share personal data
   you have provided to FTX during the Account Creation process (see Personal Information
   We Collect) with Paysafe during the wallet sign-up process for the purpose of responding
   to regulatory queries received by our service providers. These secure transfers will be
   limited to those strictly necessary to meet this purpose and ensure the continuation of the
   service. For more information on this
   service https://www.paysafe.com/en/paysafegroup/comprehensive-privacy-policy/. 
   Business Partners. We may provide personal information to business partners with whom
   we jointly offer products or services. In such cases, our business partner’s name will
   appear along with ours.
https://help.ftx.com/hc/en-us/articles/360031035671-Privacy-Policy                                   8/15
11/23/22, 1:56 PM          Case
                           Case22-11068-JTD
                                22-11068-JTD Doc
                                             Doc2725-1
                                                 1467-1
                                                  200-1     Filed
                                                      PrivacyFiled
                                                              Policy 12/12/22
                                                                     –09/27/23
                                                                      05/09/23
                                                                       FTX ExchangePage
                                                                                   Page10
                                                                                        46of
                                                                                        58 of16
                                                                                             52
                                                                                             73

   NFT Partners. Non-fungible token (“NFT”) issuers or projects offering their NFTs via our
   Services (“NFT Partners”) may offer NFT buyers promotional items or rewards (the
   “Rewards”) in connection with NFT purchases made via the Services. If you choose to
   redeem your Rewards, we will provide the NFT Partner with your identifying information,
   such as your name and mailing address.
   Affiliates. We may share personal information with our affiliated companies.
   Advertising Partners. Through our Services, we may allow third party advertising partners
   to set Technologies and other tracking tools to collect information regarding your activities
   and your device (e.g., your IP address, mobile identifiers, page(s) visited, location, time of
   day). We may also combine and share such information and other information (such as
   demographic information and past purchase history) with third party advertising partners.
   These advertising partners may use this information (and similar information collected from
   other websites) for purposes of delivering targeted advertisements to you when you visit
   third party websites within their networks. This practice is commonly referred to as
   “interest-based advertising” or “online behavioral advertising. We may allow access to
   other data collected by the Services to share information that may be useful, relevant,
   valuable or otherwise of interest to you. If you prefer not to share your personal
   information with third party advertising partners, you may follow the instructions below.
   Disclosures to Protect Us or Others. We may access, preserve, and disclose any
   information we store associated with you to external parties if we, in good faith, believe
   doing so is required or appropriate to: comply with law enforcement or national security
   requests and legal process, such as a court order or subpoena; protect your, our or others’
   rights, property, or safety; enforce our policies or contracts; collect amounts owed to us; or
   assist with an investigation or prosecution of suspected or actual illegal activity.
   Disclosure in the Event of Merger, Sale, or Other Asset Transfers. If we are involved in a
   merger, acquisition, financing due diligence, reorganization, bankruptcy, receivership,
   purchase or sale of assets, or transition of service to another provider, then your
   information may be sold or transferred as part of such a transaction, as permitted by law
   and/or contract.
   You acknowledge that all information processed by us may be transferred, processed, and
   stored anywhere in the world, including but not limited to, the United States or other
   countries, which may have data protection laws that are different from the laws where you
   live. We have taken appropriate safeguards to require that your personal information will 
   remain protected and require our third-party service providers and partners to have
   appropriate safeguards as well. Further details can be provided upon request.
   4. YOUR PRIVACY CHOICES AND RIGHTS
https://help.ftx.com/hc/en-us/articles/360031035671-Privacy-Policy                                9/15
11/23/22, 1:56 PM          Case
                           Case22-11068-JTD
                                22-11068-JTD Doc
                                             Doc2725-1
                                                 1467-1
                                                  200-1     Filed
                                                      PrivacyFiled
                                                              Policy 12/12/22
                                                                     –09/27/23
                                                                      05/09/23
                                                                       FTX ExchangePage
                                                                                   Page11
                                                                                        47of
                                                                                        59 of16
                                                                                             52
                                                                                             73

   General

   You have certain choices about your personal information. Where you have consented to
   the processing of your personal information, you may withdraw that consent at any time
   and prevent further processing by contacting us as described below. Even if you opt out,
   we may still collect and use non- personal information regarding your activities on our
   Services and for other legal purposes as described above.
   Email and Telephone Communications
   If you receive an unwanted email from us, you can use the unsubscribe link found at the
   bottom of the email to opt out of receiving future emails. Note that you will continue to
   receive transaction-related emails regarding products or Services you have requested. We
   may also send you certain non-promotional communications regarding us and our Services,
   and you will not be able to opt out of those communications (e.g., communications
   regarding the Services or updates to our Terms or this Privacy Policy).
   We process requests to be placed on do-not-mail, do-not-phone and do-not-contact lists
   as required by applicable law.
   Mobile Devices
   We may send you push notifications through our mobile application. You may at any time
   opt- out from receiving these types of communications by changing the settings on your
   mobile device. We may also collect location-based information if you use our mobile
   applications. You may opt-out of this collection by changing the settings on your mobile
   device.
   “Do Not Track.”
   Do Not Track (“DNT”) is a privacy preference that users can set in certain web browsers.
   Please note that we do not respond to or honor DNT signals or similar mechanisms
   transmitted by web browsers.
   Cookies and Interest-Based Advertising
   You may stop or restrict the placement of Technologies on your device or remove them by
   adjusting your preferences as your browser or device permits. The online advertising 
   industry also provides websites from which you may opt out of receiving targeted ads from
   data partners and other advertising partners that participate in self-regulatory programs.
   You can access these and learn more about targeted advertising and consumer choice and
   privacy,
https://help.ftx.com/hc/en-us/articles/360031035671-Privacy-Policy                                10/15
11/23/22, 1:56 PM          Case
                           Case22-11068-JTD
                                22-11068-JTD Doc
                                             Doc2725-1
                                                 1467-1
                                                  200-1     Filed
                                                      PrivacyFiled
                                                              Policy 12/12/22
                                                                     –09/27/23
                                                                      05/09/23
                                                                       FTX ExchangePage
                                                                                   Page12
                                                                                        48of
                                                                                        60 of16
                                                                                             52
                                                                                             73
   at http://www.networkadvertising.org/managing/opt_out.asp, http://www.youronlinechoices
   .eu/, and http://www.aboutads.info/choices/. To separately make choices for mobile apps
   on a mobile device, you can download DAA’s AppChoices application from your device’s app
   store. Alternatively, for some devices you may use your device’s platform controls in your
   settings to exercise choice.
   Please note you must separately opt out in each browser and on each device.
   Advertisements on third party websites that contain the AdChoices link may have been
   directed to you based on information collected by advertising partners over time and
   across websites. These advertisements provide a mechanism to opt out of the advertising
   partners’ use of this information for interest-based advertising purposes.
   Your Privacy Rights
   In accordance with applicable law, you may have the right to:
        Access personal information about you consistent with legal requirements including:
        (i) confirming whether we are processing your personal information; (ii) obtaining
        access to or a copy of your personal information in a structured, commonly used, and
        machine readable format; and (iii) receiving an electronic copy of personal information
        that you have provided to us, or asking us to send that information to another company
        in a structured, commonly used, and machine readable format (the “right of data
        portability”).
        Request correction of your personal information where it is inaccurate or incomplete.
        In some cases, we may provide self-service tools that enable you to update your
        personal information or we may refer you to the controller of your personal information
        who is able to make the correction.
        Request deletion of your personal information, subject to certain exceptions
        prescribed by law.
        Request restriction of or object to processing of your personal information, including
        the right to opt in or opt out of the sale of your personal information to third parties, if
        applicable, where such requests are permitted by law.
        Withdraw your consent to our processing of your personal information.
   If you would like to exercise any of these rights, please log into your account or contactus
   as set forth below. We will process such requests in accordance with applicable laws. To
   protect your privacy, we will take steps to verify your identity before fulfilling your request.
   5. DATA RETENTION
https://help.ftx.com/hc/en-us/articles/360031035671-Privacy-Policy                                11/15
11/23/22, 1:56 PM          Case
                           Case22-11068-JTD
                                22-11068-JTD Doc
                                             Doc2725-1
                                                 1467-1
                                                  200-1     Filed
                                                      PrivacyFiled
                                                              Policy 12/12/22
                                                                     –09/27/23
                                                                      05/09/23
                                                                       FTX ExchangePage
                                                                                   Page13
                                                                                        49of
                                                                                        61 of16
                                                                                             52
                                                                                             73
   We store the personal information we receive as described in this Privacy Policy for as long
   as you use our Services or as necessary to fulfill the purpose(s) for which it was collected,

   provide our Services, resolve disputes, establish legal defenses, conduct audits, pursue
   legitimate business purposes, enforce our agreements, and comply with applicable laws.
   6. SECURITY OF YOUR INFORMATION
   We take steps to ensure that your information is treated securely and in accordance with
   this Privacy Policy. Unfortunately, no system is 100% secure, and we cannot ensure or
   warrant the security of any information you provide to us. To the fullest extent permitted
   by applicable law, we do not accept liability for unintentional disclosure.
   By using the Services or providing personal information to us, you agree that we may
   communicate with you electronically regarding security, privacy, and administrative issues
   relating to your use of the Services. If we learn of a security system’s breach, we may
   attempt to notify you electronically by posting a notice on the Services, by mail or by
   sending an e-mail to you.
   7. INTERNATIONAL DATA TRANSFERS
   All information processed by us may be transferred, processed, and stored anywhere in the
   world, which may have data protection laws that are different from the laws where you live.
   We endeavor to safeguard your information consistent with the requirements of applicable
   laws.
   If we transfer personal information to countries outside the European Economic Area, we
   will put in place appropriate safeguards to ensure that this transfer complies with the
   applicable laws and regulations. For more information about these safeguards, please
   contact us as set forth below.
   8. CHILDREN’S INFORMATION
   The Services are not directed to children under 18 (or other age as required by local law),
   and we do not knowingly collect personal information from children. If you learn that your
   child has provided us with personal information without your consent, you may contact us
   as set forth below. If we learn that we have collected any personal information in violation
   of applicable law, we will promptly take steps to delete such information and terminate the
   child’s account.                                                                        
   9. SUPERVISORY AUTHORITY
   If you are located in the European Economic Area or the UK, Switzerland or Brazil you have
   the right to lodge a complaint with a supervisory authority if you believe our processing of
https://help.ftx.com/hc/en-us/articles/360031035671-Privacy-Policy                                12/15
   the right to lodge
11/23/22, 1:56 PM
                      a complaint
                   Case
                                  with a Doc
                    Case22-11068-JTD
                         22-11068-JTD Doc
                                         supervisory
                                            1467-1
                                            2725-1
                                                      authority
                                             200-1 Filed
                                                                if youPage
                                                     Filed12/12/22
                                                                       believe
                                                           05/09/23 Page
                                                           09/27/23        14
                                                                               our73
                                                                            50of
                                                                            62 of16
                                                                                 52
                                                                                    processing of
                                                                     Privacy Policy – FTX Exchange


   your personal information violates applicable law.
   10. CHANGES TO OUR PRIVACY POLICY
   We may revise this Privacy Policy from time to time in our sole discretion. If there are any
   material changes to this Privacy Policy, we will notify you as required by applicable law.
   You understand and agree that you will be deemed to have accepted the updated Privacy
   Policy if you continue to use the Services after the new Privacy Policy takes effect.
   11. CONTACT US
   If you have any questions about our privacy practices or this Privacy Policy, or if you wish
   to submit a request to exercise your rights as detailed in this Privacy Policy, please contact
   us at:
   FTX Trading Ltd.
   Lower Factory Road; Box 990
   St. John’s, Antigua
   privacy@ftx.com

        Previous                                                                                              Next 
   Jurisdiction, regulations, licensing, and practices                                               FTX Terms of Service


   ARTICLES IN THIS SECTION
   How To Contact Us
   Copyright Information
   Security Policy
   Location Restrictions
   Jurisdiction, regulations, licensing, and practices
   Privacy Policy
   FTX Terms of Service                                                                                           
   FTX Australia Legal
   Notice for UK Customers
https://help.ftx.com/hc/en-us/articles/360031035671-Privacy-Policy                                                      13/15
11/23/22, 1:56 PM          Case
                           Case22-11068-JTD
                                22-11068-JTD Doc
                                             Doc2725-1
                                                 1467-1
                                                  200-1     Filed
                                                      PrivacyFiled
                                                              Policy 12/12/22
                                                                     –09/27/23
                                                                      05/09/23
                                                                       FTX ExchangePage
                                                                                   Page15
                                                                                        51of
                                                                                        63 of16
                                                                                             52
                                                                                             73

   RELATED ARTICLES
   FTX Terms of Service
   Security Policy
   Contact Us
   Fees
   How To Contact Us

   PROMOTED ARTICLES
   Introducing New Fee and Ratelimit Tiers to the FTX VIP & Market Maker Program
   Deposit to your FTX account to earn VIP status
   VIP Program and Market Maker Policy
   FTX partners with Paradigm for one-click futures spreads trading




           Didn't find what you were looking for?
           Create a support ticket


           Community



                                                      Was this article helpful?                   
                                                                     Yes      No
                                                        1 out of 1 found this helpful
https://help.ftx.com/hc/en-us/articles/360031035671-Privacy-Policy                                    14/15
11/23/22, 1:56 PM          Case
                           Case22-11068-JTD
                                22-11068-JTD Doc
                                             Doc2725-1
                                                 1467-1
                                                  200-1     Filed
                                                      PrivacyFiled
                                                              Policy 12/12/22
                                                                     –09/27/23
                                                                      05/09/23
                                                                       FTX ExchangePage
                                                                                   Page16
                                                                                        52of
                                                                                        64 of16
                                                                                             52
                                                                                             73




                                                                                        English (US)    




             FTX Services and FTX Token (FTT) are not available in the United States or other prohibited jurisdictions




                                                                                                                         


https://help.ftx.com/hc/en-us/articles/360031035671-Privacy-Policy                                                           15/15
Case
 Case22-11068-JTD
      22-11068-JTD Doc
                    Doc2725-1
                        1467-2 Filed
                                Filed09/27/23
                                      05/09/23 Page
                                                Page65
                                                     1 of 9
                                                          73




                       EXHIBIT B
               Case
                Case
                 Case
                    22-11068-JTD
                     22-11068-JTD
                      22-11068-JTDDoc
                                   Doc
                                    Doc
                                      2725-1
                                       1467-2
                                        362 Filed
                                              Filed
                                               Filed01/04/23
                                                    09/27/23
                                                     05/09/23 Page
                                                              Page
                                                               Page166
                                                                     2ofof6 9
                                                                            73




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                        :
                                                        :   Chapter 11
    In re                                               :
                                                        :   Case No. 22-11068 (JTD)
    FTX TRADING LTD., et al., 1                         :   (Jointly Administered)
                                                        :
                                   Debtors.             :   Hearing Date: January 11, 2023, at 9:00 a.m.
                                                        :
                                                            Objection Deadline: December 9, 2022 (extended
                                                        :   for the U.S. Trustee to December 14, 2022 at 12:00
                                                        :   p.m.)
                                                        :
                                                        :   Re: D.I. 45, 200
                                                        :

SUPPLEMENT TO UNITED STATES TRUSTEE’S OBJECTION TO THE MOTION OF
THE DEBTORS FOR ENTRY OF INTERIM AND FINAL ORDERS (I) AUTHORIZING
 THE DEBTORS TO MAINTAIN A CONSOLIDATED LIST OF CREDITORS IN LIEU
OF SUBMITTING A SEPARATE MATRIX FOR EACH DEBTOR, (II) AUTHORIZING
    THE DEBTORS TO REDACT OR WITHHOLD CERTAIN CONFIDENTIAL
     INFORMATION OF CUSTOMERS AND PERSONAL INFORMATION OF
       INDIVIDUALS AND (III) GRANTING CERTAIN RELATED RELIEF


            Andrew R. Vara, the United States Trustee for Regions Three and Nine (the “U.S.

Trustee”), through his undersigned counsel, files this Supplement to the United States Trustee’s

Objection to the Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the

Debtors to Maintain a Consolidated List of Creditors in Lieu of Submitting a Separate Matrix for

Each Debtor, (II) Authorizing the Debtors to Redact or Withhold Certain Confidential

Information of Customers and Personal Information of Individuals and (III) Granting Certain

Related Relief (the “Objection”) [D.I. 200], and respectfully states:


1
      The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers
      are 3288 and 4063, respectively. Due to the large number of debtor entities in these chapter 11 cases,
      a complete list of the Debtors and the last four digits of their federal tax identification numbers is not
      provided herein. A complete list of such information may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.ra.kroll.com/FTX.
             Case
              Case
               Case
                  22-11068-JTD
                   22-11068-JTD
                    22-11068-JTDDoc
                                 Doc
                                  Doc
                                    2725-1
                                     1467-2
                                      362 Filed
                                            Filed
                                             Filed01/04/23
                                                  09/27/23
                                                   05/09/23 Page
                                                            Page
                                                             Page267
                                                                   3ofof6 9
                                                                          73




                              I.       PRELIMINARY STATEMENT

        1.      On November 19, 2022, the Debtors filed the Motion of the Debtors for Entry of

Interim and Final Orders (I) Authorizing the Debtors to Maintain a Consolidated List of

Creditors in Lieu of Submitting a Separate Matrix for Each Debtor, (II) Authorizing the Debtors

to Redact or Withhold Certain Confidential Information of Customers and Personal Information

of Individuals and (III) Granting Certain Related Relief (the “Motion”) [D.I. 45]. Through the

Motion, the Debtors sought permission to redact: (a) the names, addresses and email addresses of

all customers (who are also creditors of the Debtors), whether such customers are individuals, or

legal entities, (b) the names, addresses and email addresses of all non-customer individual

creditors or equity holders who are citizens of the United Kingdom (“UK”) or member nations of

the European Union (“EU”), and are covered by the EU or UK General Data Protection

Regulation, and (c) the addresses and email addresses of all other creditors or equity holders who

are individuals, regardless of citizenship. Mot. ¶ 12; Mot. Ex. B (Proposed Final Order) ¶¶ 4, 5.

The Motion stated that the documents that would be subject to such redactions include (but are

not limited to) the Debtors’ Creditor Matrix, 2 Consolidated Top 50 Creditor List, Schedules and

Statements, the claims register, proof of claims and affidavits of service.

        2.      On December 12, 2022, the U.S. Trustee filed the Objection to the Motion. At the

time of that filing, the Debtors had not yet filed any applications to retain professionals.

Subsequent to the filing of the U.S. Trustee’s Objection, the Debtors filed numerous retention

applications, 3 all of which included redactions of certain names on the parties in interest list


2
    Any capitalized terms not defined herein shall have the definition set forth in the Motion.
3
    References herein to retention applications include motions filed by the Debtors under 105(a) and 363
    (b) of the Bankruptcy Code to retain Owl Hill Advisory, LLC [D.I. 269] and RLKS Executive
    Solutions LLC [D.I. 276].


                                                     2
             Case
              Case
               Case
                  22-11068-JTD
                   22-11068-JTD
                    22-11068-JTDDoc
                                 Doc
                                  Doc
                                    2725-1
                                     1467-2
                                      362 Filed
                                            Filed
                                             Filed01/04/23
                                                  09/27/23
                                                   05/09/23 Page
                                                            Page
                                                             Page368
                                                                   4ofof6 9
                                                                          73




attached to the applications, and some of which also included redactions elsewhere in the

application of the names of parties in interest with whom the professional had a connection or

was otherwise making a disclosure. 4 Counsel to the Debtors informed counsel to the U.S.

Trustee that the information redacted in the retention applications was limited to (i) names of

customers of the Debtors and (ii) names of non-customer individual creditors or equity holders of

the Debtors whom the Debtors believe are or may be citizens of the UK or EU member nations,

and are therefore subject to the relief sought in the Motion.

        3.       The U.S. Trustee supplements its Objection to address the redactions made in the

retention applications.

                       II.      JURISDICTION, VENUE AND STANDING

        4.      Pursuant to (i) 28 U.S.C. § 1334, (ii) applicable order(s) of the United States

District Court for the District of Delaware issued pursuant to 28 U.S.C. § 157(a), and (iii) 28

U.S.C. § 157(b)(2)(A), this Court has jurisdiction to hear and determine this supplement to the

Objection.

        5.      Under 28 U.S.C. § 586, the U.S. Trustee is charged with overseeing the

administration of Chapter 11 cases filed in this judicial district. This duty is part of the U.S.

Trustee’s overarching responsibility to enforce the bankruptcy laws as written by Congress and

interpreted by the courts. See Morgenstern v. Revco D.S., Inc. (In re Revco D.S., Inc.), 898 F.2d

498, 500 (6th Cir. 1990) (describing the U.S. Trustee as a “watchdog”).




4
    The retention applications that included a redacted parties in interests list were filed at D.I. 269, 270,
    272, 273, 275, 276, 277, 279, 280, and 300. An unredacted version of the parties in interest list was
    filed under seal at D.I. 288. Sealed versions of declarations supporting certain retention applications
    were filed at D.I. 271, 274, 278, 281, 285 and 298.


                                                      3
               Case
                Case
                 Case
                    22-11068-JTD
                     22-11068-JTD
                      22-11068-JTDDoc
                                   Doc
                                    Doc
                                      2725-1
                                       1467-2
                                        362 Filed
                                              Filed
                                               Filed01/04/23
                                                    09/27/23
                                                     05/09/23 Page
                                                              Page
                                                               Page469
                                                                     5ofof6 9
                                                                            73




          6.      Under 11 U.S.C. § 307, the U.S. Trustee has standing to be heard on this

supplement to the Objection. See United States Trustee v. Columbia Gas Sys., Inc. (In re

Columbia Gas Sys., Inc.), 33 F.3d 294, 295-96 (3d Cir. 1994) (noting that U.S. Trustee has

“public interest standing” under 11 U.S.C. § 307, which goes beyond mere pecuniary interest).

                             III.    SUPPLEMENT TO OBJECTION

          7.      For the reasons set forth in the U.S. Trustee’s Objection, the Motion should be

denied to the extent it seeks authority to redact from the public record, and keep under seal, (a)

the names of any parties on the parties in interest list attached to any retention application, and

the (b) the names of any parties in interest with whom a professional has a connection or

otherwise makes a disclosure.

          8.      This exact issue was addressed in In re Celsius Network, LLC, 644 B.R. 276

(Bankr. S.D.N.Y. 2022). There, the court sustained the U.S. Trustee’s objection to the redactions

of the names of certain creditors in the retention applications, and directed “all professionals to

submit unredacted versions of the Retention Application.” Id. at 296. In so doing, the court

stated:

                  The Debtors are seeking to redact the names of certain creditors listed on the
                  schedules of the Debtors’ Retention Applications. As this Court has
                  previously stated, “documents which are part of the court record should not
                  remain under seal absent the most compelling reasons.” Disclosure of names
                  in retention applications serves an essential purpose in evaluating conflicts.
                  “[P]ublic access allows other parties and the public to identify any person or
                  entity with a substantial financial interest—whether passive or active—in the
                  outcome ... and draw their own conclusions about any potentially
                  disqualifying conflicts—a purpose that cannot be served if redacted
                  statements are filed.”) The information Debtors seek to seal simply does not
                  fall within the exceptions allowed under the Bankruptcy Code.

Id. at 296 (citing In re Motors Liquidation Co., 561 B.R. 36, 38 and 41 (Bankr. S.D.N.Y. 2016);

noting Motors Liquidation’s citation of In re FiberMark, Inc., 330 B.R. 480, 503–04 (Bankr. D.

Vt. 2005)).
                                                   4
            Case
             Case
              Case
                 22-11068-JTD
                  22-11068-JTD
                   22-11068-JTDDoc
                                Doc
                                 Doc
                                   2725-1
                                    1467-2
                                     362 Filed
                                           Filed
                                            Filed01/04/23
                                                 09/27/23
                                                  05/09/23 Page
                                                           Page
                                                            Page570
                                                                  6ofof6 9
                                                                         73




       9.      The U.S. Trustee leaves the Debtors to their burden of proof and reserves any and

all rights, remedies and obligations to, inter alia, further supplement, or complement, augment,

alter and/or modify the Objection, file an appropriate Motion and/or conduct any and all

discovery as may be deemed necessary or as may be required and to assert such other grounds as

may become apparent upon further factual discovery.

                                       IV.     CONCLUSION

       WHEREFORE, the U.S. Trustee respectfully requests that the Court deny the final relief

requested by the Motion, as it concerns redaction of information, except to allow the redaction

from public filings of the addresses and email addresses – but not names – of individuals who are

customers or other creditors of the Debtors, and grant any such other and further relief that the

Court deems just and proper.

                                              Respectfully Submitted,

                                              ANDREW R. VARA,
                                              UNITED STATES TRUSTEE
                                              REGIONS 3 & 9


Dated: January 4, 2023
                                              By: /s/ Juliet Sarkessian
                                              Juliet Sarkessian
                                              Benjamin Hackman
                                              Trial Attorneys
                                              United States Department of Justice
                                              Office of the United States Trustee
                                              J. Caleb Boggs Federal Building
                                              844 N. King Street, Room 2207, Lockbox 35
                                              Wilmington, DE 19801
                                              (302) 573-6491
                                              juliet.m.sarkessian@usdoj.gov
                                              benjamin.a.hackman@usdoj.gov

                                              -and-




                                                 5
Case
 Case
  Case
     22-11068-JTD
      22-11068-JTD
       22-11068-JTDDoc
                    Doc
                     Doc
                       2725-1
                        1467-2
                         362 Filed
                               Filed
                                Filed01/04/23
                                     09/27/23
                                      05/09/23 Page
                                               Page
                                                Page671
                                                      7ofof6 9
                                                             73




                            David Gerardi
                            Trial Attorney
                            One Newark Center
                            1085 Raymond Boulevard
                            Suite 2100
                            Newark, NJ 07102
                            (973) 645-3014 (Phone)
                            (973) 645-5993 (Fax)
                            david.gerardi@usdoj.gov




                              6
              Case
               Case
               Case22-11068-JTD
                    22-11068-JTD
                     22-11068-JTD Doc
                                   Doc
                                   Doc2725-1
                                       1467-2
                                        362-1 Filed
                                              Filed
                                               Filed09/27/23
                                                     01/04/23
                                                     05/09/23 Page
                                                              Page
                                                               Page72
                                                                    18of
                                                                      of29
                                                                         73




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                        :
                                                        :
    In re                                               :   Chapter 11
                                                        :
                                                        :
    FTX TRADING LTD., et al., 1                         :   Case No. 22-11068 (JTD)
                                                        :   (Jointly Administered)
                                                        :
                                   Debtors.             :
                                                        :   Re: D.I. 45 & 200
                                                        :
                                                        :
                                                        :

                                      CERTIFICATE OF SERVICE

       I, Benjamin Hackman, certify that on January 4, 2023, I served a copy of the Supplement
to United States Trustee’s Objection to the Motion of the Debtors for Entry of Interim and Final
Orders (I) Authorizing the Debtors To Maintain a Consolidated List of Creditors in Lieu of
Submitting a Separate Matrix for Each Debtor, (II) Authorizing the Debtors To Redact or
Withhold Certain Confidential Information of Customers and Personal Information of
Individuals and (III) Granting Certain Related Relief in the above-entitled action through the
CM/ECF notification system, with courtesy copies upon the following via e-mail:

Landis Rath & Cobb LLP                                       Sullivan & Cromwell LLP
Adam G. Landis                                               Andrew G. Dietderich
Kimberly A. Brown                                            James L. Bromley
Matthew R. Pierce                                            Brian D. Glueckstein
919 Market Street, Suite 1800                                Alexa J. Kranzley
Wilmington, Delaware 19801                                   125 Broad Street
E-mail: landis@lrclaw.com                                    New York, NY 10004
brown@lrclaw.com                                             E-mail: dietdericha@sullcrom.com
pierce@lrclaw.com                                            bromleyj@sullcrom.com
                                                             gluecksteinb@sullcrom.com
                                                             kranzleya@sullcrom.com



1
      The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers
      are 3288 and 4063, respectively. Due to the large number of debtor entities in these chapter 11 cases,
      a complete list of the Debtors and the last four digits of their federal tax identification numbers is not
      provided herein. A complete list of such information may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.ra.kroll.com/FTX.


                                                        1
          Case
           Case
           Case22-11068-JTD
                22-11068-JTD
                 22-11068-JTD Doc
                               Doc
                               Doc2725-1
                                   1467-2
                                    362-1 Filed
                                          Filed
                                           Filed09/27/23
                                                 01/04/23
                                                 05/09/23 Page
                                                          Page
                                                           Page73
                                                                29of
                                                                  of29
                                                                     73




Paul Hastings LLP                            Young Conaway Stargatt & Taylor, LLP
Kristopher M. Hansen, Esq.                   Matthew B. Lunn, Esq.
Luc A. Despins, Esq.                         Robert F. Poppiti, Jr., Esq.
Kenneth Pasquale, Esq.                       1000 North King Street
Erez E. Gilad, Esq.                          Wilmington, DE 19801
Gabriel E. Sasson, Esq.                      Email: mlunn@ycst.com
200 Park Avenue                              rpoppiti@ycst.com
New York, NY 10166
Email: krishansen@paulhastings.com
lucdespins@paulhastings.com
kenpasquale@paulhastings.com
erezgilad@paulhastings.com
gabesasson@paulhastings.com




Dated: January 4, 2023               By: /s/ Benjamin Hackman
       Wilmington, Delaware          Juliet Sarkessian
                                     Benjamin Hackman
                                     Trial Attorneys
                                     United States Department of Justice
                                     Office of the United States Trustee
                                     J. Caleb Boggs Federal Building
                                     844 N. King Street, Room 2207, Lockbox 35
                                     Wilmington, DE 19801
                                     (302) 573-6491
                                     juliet.m.sarkessian@usdoj.gov
                                     benjamin.a.hackman@usdoj.gov


                                     -and-

                                     David Gerardi
                                     Trial Attorney
                                     One Newark Center
                                     1085 Raymond Boulevard
                                     Suite 2100
                                     Newark, NJ 07102
                                     (973) 645-3014 (Phone)
                                     (973) 645-5993 (Fax)
                                     david.gerardi@usdoj.gov



                                        2
